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                  Exhibit 4
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                                      THE HIGH COURT

                                                                            H.S.2024. 0000158




BETWE



                                        S.A.U., PETERSEN ENERGIA S.A.U., ETON PARK
                   AG                   ON PARK MASTER FUND, LTD AND ETON PARK
                                          FUND LP.

                                                                                      Plaintiffs
          -..

                                             - and-




                                THE ARGENTINE REPUBLIC



                                                                                    Defendant      •




       OUTLINE LEGAL SUBMISSIONS ON BEHALF OF THE ARGENTINE REPUBLIC



INTRODUCTION

1.     In these proceedings, the First and Second Named Plaintiffs (the "Petersen Plaintiffs") ,
       along with the Third to Fifth Named Plaintiffs (the "Eton Park Plaintiffs" and together
       with the Petersen Plaintiffs, the "Plaintiffs"), were granted leave by Twomey J. on an ex
       parte basis on 25 April 2024, to serve proceedings on the Argentine Republic (the
       "Republic"), pursuant to Order 11, Rule 1(q) of the Rules of the Superior Courts ("RSC").

2.     The proceedings seek recognition and enforcement in Ireland of a judgment of the            •
       United States District Court for the Southern District of New York (the "SDNY Court")
       entered on 15 September 2023 (the "New York Judgment") against the Republic. The
       New York Judgment arose from proceedings brought by the Petersen Plaintiffs in 2015
       and the Eton Park Plaintiffs in 2016 (the "US Proceedings"). The New York Judgment
       is under appeal (the "2023 Circuit Appeal") to the US Court of Appeals for the Second
       Circuit (the "Second Circuit").


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3.       The Republic has brought two applications in response to the initiation of these
         proceedings.

4.       First, albeit second in time procedurally, the Republic seeks a stay of these proceedings,
         until such time as the 2023 Circuit Appeal and any subsequent appeal thereafter, is
         finally determined (the "Stay Application"). The Republic argues that the balance of
         justice favours the grant of a stay.

5.       Second, and without prejudice to the Stay Application, the Republic seeks an Order,
         pursuant to Order 12, rule 26 RSC and/or pursuant to the inherent jurisdiction of the
         Court, setting aside the service of the proceedings, on the basis that the Irish Courts
         lack jurisdiction (the "Set-Aside Application").

6.       There are three main bases for the Set-Aside Application.

7.       First, the Republic contends that the Plaintiffs have failed to comply with the well-
         established test for service outside of the jurisdiction for cases falling within Order 11,
         rule 1(q) RSC.

8.       In this limb, the Republic also maintains that non-disclosure by the Plaintiffs during the
         ex parte leave stage of their US post-judgment enforcement efforts constituted a breach
         of the duty of uberrima tides, which itself is grounds for setting aside service.

9.       Second, the Republic contends that these proceedings engage the doctrine of sovereign
         immunity, and therefore that they are non-justiciable.

10.      Third, these proceedings engage the act of state doctrine, with the same result that they
         are non-justiciable.

11.      The factual background to these proceedings is set out in the Affidavit of Mr. Andres de
         la Cruz, former Deputy Treasury Attorney General of the Republic, sworn on 17 January
         2025. As it is lengthy, it is not rehearsed in these submissions. Instead, the Republic
         relies on §9-48 of Mr. de la Cruz's affidavit.

12.      The Republic also relies on the affidavit of Thomas C. White, sworn on 18 March 2025.
         Mr. White prepared a narrative detailing the procedural history and current status of the
         US Proceedings. 1

      A. STAY APPLICATION

13.      As the New York Judgment did not issue from a Court of an EU Member State or a party                     •
         to the Lugano Convention, the Stay Application is governed by common law principles,
         and the Court's inherent jurisdiction.

14.      There has been limited judicial consideration in this jurisdiction of the availability of a
         stay of enforcement proceedings. The case law primarily concerns the availability of a

1
    Mr. \/Vhite and his colleagues in Sullivan & Cromwell LLP represent the Republic in the US Proceedings.
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       stay in proceedings initiated under Regulation 44/2001/EC (the "Brussels
       Regulation") and Regulation (EU) No. 1215/2012 (the "Recast Regulation").

15.    In this regard, the unique context of enforcement proceedings under the Brussels
       system should be acknowledged. As held by the CJEU in .Draka NK Cables Ltd and
       ors v. Omnipol Ltd (Case C-167/08), at §26-27, the objective of the system is "a very
       summary, simple and rapid enforcement procedure". The procedure "constitutes an
       autonomous and complete system, independent of the legal systems of the Contracting
       States", and the "rules relating to it must be interpreted strictly". The Recast Regulation
       abolished the exequatur procedure by introducing a simplified mechanism for the
       recognition and enforcement of Member State judgments.2

16.    In Haier Europe Trading SRL v. Mares Associates Limited [2017] IEHC 159, the
       defendant was the subject of an adverse costs order by an Italian court in the course of
       strike-out proceedings. The defendant appealed the substantive judgment of the Italian
       court but had not sought a stay on the award of costs . The plaintiff subsequently sought
       recognition and enforcement of the costs order against the defendant in the Irish courts,
       pursuant to the Brussels I Regulation, which was granted by the Master of the High
       Court, along with protective orders, including an order restraining the defendant from
       disposing of certain assets.

17.    The defendant applied to the High Court for a stay of the enforcement proceedings,
       pursuant to Article 46 of the Brussels I Regulation. Baker J. considered that the correct
       approach to an application for a stay was to review " the question of prejudice and the
       balance of justice" (at §70). The Court granted a stay of the enforcement proceedings,
       on the basis of the defendant's submission that due to its impecuniosity, if the costs
       order was to be enforced against the company, it would likely be wound up. The winding
       up of the defendant would, in turn , be fatal to the continuation of the proceedings under
       appeal in Italy. The Court also noted, in respect of prejudice, that the protective
       measures ordered by the Master protected the interests of the plaintiff (at §71 ).

18.   In Brompton Gwyn-Jones v. McDonald (No.2) [2021] IECA 303, the availability of a
      stay in the context of enforcement proceedings under the Recast Regulation was
      considered. Judgment had been obtained against the applicant in Sofia City Court,
      Bulgaria, in 2017. The applicant had subsequently exhausted available appeals in the
      Bulgarian courts, and initiated arbitral proceedings before the ICC. The applicant then
      sought inter alia a stay on the enforcement of the Bulgarian judgment against him in the
      Irish courts, pending the outcome of the ICC arbitration. In the judgment of the High
      Court ([2020] IEHC 689), Barr J. refused to grant the stay on the basis that it was not
      available under Article 51 (1) of the Recast Regulation, which on ly allows for a stay of
      proceedings seeking refusal of enforcement where "an ordinary appear has been                               •
      lodged against the judgment in the member state of origin.

19.   In the Court of Appeal, the applicant was permitted to argue for a stay on enforcement
      or execution of the judgment pending the outcome of a fresh application he made to the
      Bulgarian Supreme Court (§33). Murray J. analysed whether, if mistaken in relation to

2
  The judgment creditor is now only required to present to the enforcing court a copy of the judgment and a
standard certificate delivered by the court which rendered the judgment (Article 53).

                                                                                                              3
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       the interpretation of certain provisions of the Regulation, the Court's discretion to stay
       enforcement should be exercised in favour of the applicant. At §56, he observed:

              "... Any such exercise of discretion would have to strike a balance between two
              competing considerations. One arises from the interests of the appellant in not
              facing enforcement of a judgment which is ultimately unwound in the Member
              State that issued it, and from the undesirability of a situation in which there are
              conflicting judgments from Member State courts, one enforcing a judgment and
              the other vacating it. The other arises from the interests of the respondent in
              obtaining the fruits of the judgments he has obtained in Bulgaria and which have
              already been the subject of multiple appeals in that jurisdiction." 3

20.   At §57, Murray J. held that both of these perspectives had to be 'Judged in the light of
      the purpose of the Recast Regulation, and, in particular, the objective of ensuring the
      rapid enforcement and free circulation of judgments of Member State courts, the
      principle of mutual trust as between those courts and the fact that it is the courts of the
      Member State of origin before which issues on the merits between the parties are
      property resolved. " At §58-60, and based on this analysis relating to the Recast
      Regulation, Murray J. set out a number of reasons for refusing the stay.

21.   These decisions demonstrate that any application for a stay on enforcement
      proceedings will be highly fact-dependent. In addition, applications for a stay on
      enforcement under the Brussels system are determined by the relevant provisions of the
      Regulations, which are to be interpreted strictly and in the context of a system of
      enforcement which prioritises expediency and is founded on mutual trust as between
      Member States. Those particular considerations are not present here.

22.   A recent decision of the English courts in relation to the availability of a stay in
      enforcement proceedings is illustrative.

23.   Hul/ey Enterprises Ltd v Russian Federation [2021] EWHC 894 ("Yukos No.1")
      involved proceedings for the recognition and enforcement in England of arbitral awards
      against Russia of over US$50 billion . The proceedings were commenced in 2015, but
      then stayed by consent in 2016, pending an appeal to the Dutch Supreme Court. 4 The
      claimants subsequently applied to lift the stay. Henshaw J. rejected that application.

24.   The application was based on both the court's general case management powers
      under the Civil Procedure Rules, and its power to adjourn proceedings for the
      recognition or enforcement of an arbitration award under section 103(5) of the Arbitration
      Act 1996. 5
                                                                                                                    •
25.   Overall, in considering whether to lift the stay, Henshaw J. considered three matters: (a)
      the prospects of success of the appeal; (b) whether the appeal was a bona fide
      challenge; (c) delay and prejudice (to the claimants and to Russia) .

3
  Emphasis added here and throughout w ith underline.
4
  The Netherlands being the seat of arbitration.
5
  As a result, Henshaw J. referred to some authorities for the presumption in favour of the enforcement of an
arbitral award (§58-59) which are not relevant.

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26.        As to the prospect of success for the appeal, Henshaw J. entered into a detailed
           analysis, concluding ultimately there was a realistic prospect that Russia would
           ultimately prevail in the Dutch Supreme Court or the CJEU: §129.

27.        As to whether the appeal was a bona fide challenge or merely "delaying tactics": §130 ,
           the claimants argued that Russia was determined not to pay the arbitral awards, and
           would use any means to frustrate the process. Henshaw J. noted that there was a
           distinction between good faith in the merits of the appeal, and an unwillingness on the
           part of Russia to accept the result if it lost. Whilst he considered the likelihood of any
           judgment being honoured by Russia as "one stage further removed from the equation
           than the question of good faith belief in the challenge itself', he ruled that both factors
           could be taken into account in the exercise of discretion: §169.

28.        As to delay and prejudice to the claimants, the claimants referred inter alia to the very
           large amounts of interest said to be accruing on the awards. Henshaw J. noted that if
           enforcement of the award were successful then interest could be recovered through
           such enforcement: § 172. He also analysed the claimants' broader submission that delay
           in the ability to seek to enforce an award is itself a form of prejudice: §173 . It was
           common ground that there was potentially an additional three years' delay involved in
           Dutch and potential CJEU processes running their course. However, Henshaw J. ruled
           that the delay was not "inordinate" in the context of investor-state arbitrations generally,
           or in the context of the overall duration of the Yukos case. There was no suggestion that
           the claimants were lacking in means such that the delay would cause hardship, nor
           evidence that delay would cause specific business opportunities to be irretrievably lost:
           §175.

29.        As to delay and prejudice to Russia, Henshaw J ruled that the risk of inconsistent
           judgments was a factor which weighed "significantly in favour'' of continuing the stay
           pending the final outcome of the challenge in the curial court: §203.

The Interests of Justice and Question of Prejudice

30.        The Republic submits that the interests of justice require the grant of a stay of the within
           proceedings. There are a number of factors which weigh in favour of a grant of a stay: 6

      i.        The evidence from Professor Pamela Bookman7 indicates that the Republic's 2023
                Circuit Appeal, which includes three main grounds, "has a realistic prospect of
                success". The Plaintiffs rely on expert report from Dean David Levi dated 10
                January 2025. However, Dean Levi has addressed (see paragraph 22 .111 of his
                report) the much narrower issue of the "prospects of success of Argentina's

6
                                                                                                                        •
7
  As canvassed in the affidavits of Mr. Juan Ignacio Stampalija, sworn on 31 March 2025 and 30 April 2025.
  Professor Pamela Bookman, tenured professor of law at Fordham Law School in New York, provided an expert
report dated 13 December 2024 in the context of the Plaintiffs' enforcement proceedings in the United Kingdom.
It was exhibited to the affidavits of Mr. Juan Ignacio Stampalija sworn on 18 and 31 March 2025, at Tab 1 of JIS 1
and Tab 4 of JIS2.
Professor Bookman con firms, at §20 of this report, that the Republic has" clearly represented that it objects to the
U.S. courts' exercise of jurisdiction·, and notes at §21:
               "The Republic further maintained its objection to U.S. courts' exercise of jurisdiction through its
               continued objections based on forum non conveniens and international comity, which are both
               grounds for its appeal to the Second Circuit. "

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                    pending appeal on grounds ... offorum non conveniens and... international comity."
                    Accordingly, there is undisputed expert evidence that the Republic's second and
                    third grounds of the appeal have a realistic prospect of success.

       ii.          The New York Judgment may be vacated, or its quantum may be significantly
                    reduced , on foot of the 2023 Circuit Appeal. The outcome of the US Proceedings
                    is therefore very material to the within proceedings, and may even be entirely
                    determinative of the enforcement proceedings before the Irish High Court (see
                    Yukos No. 1 at §64(iv)).

       iii.         If the enforcement proceedings are not stayed, there is a significant risk that there
                    shall be inconsistent and conflicting judgments handed down in these proceedings
                    and in the US Proceedings.

       iv.          In the absence of a stay, there is therefore a real risk of inefficiency, inconvenience,
                    and waste of both judicial resources and the parties' resources, if enforcement
                    proceedings are pursued and then transpire to be unnecessary or if the
                    proceedings will require further judicial attention, and corrective steps to be taken
                    upon the delivery of the appeal judgment(s) in the US Proceedings.

31 .         It is submitted that no material prejudice will be suffered by the Plaintiffs upon the grant
             of a stay,8 in circumstances where:

             i.     There is no risk of dissipation of assets by the Republic, in circumstances where
                    no assets have been identified by the Plaintiffs within this jurisdiction. 9

             ii.    In the event that the New York Judgment is upheld in the US Proceedings, the
                    Plaintiffs can be compensated by way of interest for any delay occasioned by a
                    stay.

             iii.   There are other extensive enforcement efforts ongoing against the Republic in the
                    us. 10


             iv.    In circumstances where the US Proceedings commenced in 2015, much like in
                    Yukos No. 1, the extra period of time attendant upon a stay of these proceedings
                    pending the exhaustion of US appeals is not inordinate.

32.          While the stay of enforcement of the New York Judgment has expired,11 the availability
             of a stay in these proceedings is a question to be determined in accordance with Irish
             legal principles. A similar approach was followed in Yukos No.1, where Henshaw J. held
             that the Dutch court set down a different standard of review in respect of the suspension                       •
             of proceedings, and it was for the English courts to apply its own law and standards in
             relation to stays (at §200).


: Nor is any identified in the affidavit of Mr. Armando Betancor A lamo sworn on 22 April 2025.
10
  See Ground I of the Set-Aside Application in B.
   Ibid.
11
   Further detail on this matter is provided in the Narrative exhibited to the affidavit of Mr. White at §59, and §62-
67.

                                                                                                                         6
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      B. SET-ASIDE APPLICATION

33.    Order 11, rule 1(q) RSC provided the basis or jurisdictional gateway for seeking service
       outside of the jurisdiction in these proceedings. It permits the Court to allow service out
       of the jurisdiction when a proceeding is brought "to enforce any foreign judgmenf'.

34.    Under Order 11, rule 5 RSC, a plaintiff must demonstrate a belief that they have a "good
       cause of action" and it must be clear that the case is a "proper one" for the Court to
       exercise its discretion to grant leave.

35.    Order 11, rule 2 RSC requires a Court to consider the comparative cost and convenience
       of proceedings. It provides:

             "Where leave is asked from the Court to serve a summons or notice thereof under
             rule 1, the Court to whom such application shall be made shall have regard to the
             amount or value of the claim or property affected and to the comparative cost and
             convenience of proceedings in Ireland, or in the place of the defendant's
             residence ...."

36.    An application to set aside service outside the jurisdiction is available under Order 12,
       rule 26 RSC.

37.    As noted by McGovern J. in Avobone NV v. Aurelian Oil and Gas Ltd [2016] IEHC
       636, at §12, "Jurisdiction must be found to exist before enforcement can be considered
       by the court." Thus far, the High Court has only heard the Plaintiffs on this issue.

38.    In Analog Devices B. V. v. Zurich Insurance Company [2002] 1 IR 272 ("Analog") a
                                                                                                     •
       case which considered the jurisdictional gateway provided by Order 11 , rule 1(h) RSC,
       the Supreme Court emphasised that as leave for service outside of the jurisdiction brings
       persons before what is for them a foreign court, the international comity of courts has
       "long required, therefore, that our courts examine such applications with care and
       circumspection" (per Fennelly J., at p.281) .

39.    As set out above, there are three grounds pleaded in support of the Set-Aside
       Application:

            I.     Failure to Meet the Test for Service Out of Recognition of Foreign
                   Judgment Proceedings
            II.    Sovereign Immunity
            Ill.   Act of State

40.
                                                                                                     •
       These grounds shall be analysed in turn, along with the issue of breach of the duty of
       uberrima fides.




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I.     FAILURE TO MEET THE TEST FOR SERVICE OUT OF RECOGNITION OF
       FOREIGN JUDGMENT PROCEEDINGS


4 1.   As the New York Judgment did not issue from a Court of an EU Member State or a party
       to the Lugano Convention, the Set-Aside Application is governed by standard common
       law principles and by the provisions of Order 11 RSC. This was confirmed, in respect of
       a judgment of a court of a different State - Albania - in the leading and highly relevant
       Irish Court of Appeal decision on a set-aside application in relation to enforcement of a
       judgment of a foreign court; Albaniabeg Ambient Shpk v. Enel SPA & Enelpower
       SPA [2018] IECA 46 ("A/baniabeg"), at §13.

42.    There is a three-part test in cases concerning the recognition of foreign judgments. In
       Albaniabeg, Hogan J. set this out at §30:

             ".. .one may agree with McDermott J. when he stated that a plaintiff such as the
             present one must generally establish (i) that it has a good arguable case: (ii) that
             it is likelv to obtain a practical benefit from the proceedings and (iii) that it satisfies
             the comparative cost and convenience requirements of Ord. 11. r. 2. "

43.    Hogan J. stated that the jurisdictional bases upon which Irish courts may assume
       jurisdiction may be exorbitant and are mitigated by considerations of forum conveniens
        (§14). He emphasised that the exercise of a potentially exorbitant jurisdiction permitted
        by Order 11 RSC, was tempered by rules 2 and 5 thereof (§23). He stressed that the

                                                                                                           •
       jurisdiction under Order 11 RSC is a discretionary one.

44.    It is well established that the party who obtained the ex parle order for service out of the
       jurisdiction must carry the burden of demonstrating that the order in question was
       properly granted (Albaniabeg § 19).

       The Three-Part Albaniabeg Test

       (i)    Good Arguable Case

              The Test

45.    In Albaniabeg, Hedigan J. granted the plaintiff liberty, on an ex parte basis, to serve out
       of the jurisdiction to seek to enforce in Ireland a judgment of an Albanian court against
       two Italian defendants, ENEL S.p.A. and ENEL Power S.p.A (together "ENEL") in the
       amount of approx. €433m. McDermott J. granted ENE L's application to set aside service
       under Order 12, rule 26 RSC. The plaintiff appealed to the Court of Appeal, and was
       unsuccessful.

46.    In respect of the first limb of the test, Hogan J noted, at §32, that at common law a
       foreign judgment delivered by a foreign court is generally unimpeachable on its merits,
       but that a range of defences to enforcement can be set up. The Court was satisfied that
       the plaintiff had a good arguable cause of action in seeking to enforce the foreign
       judgment within the meaning of Order 11 RSC.




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47.       It is accepted that the first limb is generally a low hurdle (see Analog and IBRC v.
          Quinn [2016) 3 IR 197 ("Quinn"), both of which related to Order 11 , rule 1(h) RSC) .
          However, these proceedings are quite unique, due to th~ identity of the Republic - a
          nation State. The Republic maintains that the Irish Courts have no jurisdiction to
          entertain these proceedings, due to the doctrines of sovereign immunity and act of
          state.12 Its immunity is a binary issue which goes to the justiciability of the claim. Either
          the Republic is immune from adjudication (as the Republic asserts is the case) , in which
          case adjudication on the merits simply cannot proceed , or it is not immune, in which
          case, the matter, subject to other jurisdictional arguments, might proceed before the Irish
          Courts.13

48.       The UK Supreme Court in VTB Capital pie v. Nutritek International Corp and others
          [2013) 2 AC 337 at §164 held that where a question of law arises in connection with a
          dispute about service out of the jurisdiction and that question of law goes to the existence
          of the jurisdiction, then the court will normally decide the question of law, as opposed to
          seeing whether there is a good arguable case on it.

49.       There is also UK authority to the effect that where a State makes a claim to immunity, it
          is necessary for the court to determine, on a final and not merely interlocutory basis,
          whether the ground for immunity/loss of immunity exists. Lord Kerr L.J in JH Rayner
          (Mincing Lane) Ltd v. Department of Trade and Industry [1989) 1 Ch 72 ("Rayner').
          at p.194, observed :

                 "However, in the end I was persuaded that the judge's conclusion in favour of a                      •
                 good arguable case could not be supported. Although not a decision under the Act
                 of 1978, that was the conclusion of Robert Goff J. in I Congreso def Partido [1978]
                 Q.B. 500, 535-537, in a similar context of an issue as to the court's jurisdiction in
                 the face of a claim to sovereign immunity. Mr. Pollock also pointed to the
                 complications which would arise if a "good arguable case" in favour ofan exception
                 to immunity under, say, section 3 were then to lead directly to a trial of the merits
                 of the action, as Mr. Kentridge contends. The defendant state could in that event
                 not defend the substantive claims without taking steps in the proceedings, which
                 would involve a submission to the jurisdiction under section 2(3)(b).

                 In the upshot, therefore, I am persuaded that whenever the question arises under
                 the Act of 1978 whether a defendant state is immune by virtue of section 1 or not
                 immune by virtue of one of the exceptions, then this question must be decided as
                 a preliminary issue in favour of the plaintiff, in whatever form and by whatever
                 procedure the court may consider appropriate, before the substantive action can
                 proceed."

50. This point was confirmed in London Steam-Ship Owners' Mutual Insurance
                                                                                                                      •
    Association Ltd v. Kingdom of Spain [2022] 1 WLR 3434, at §54. 14

51.       In Trafalgar Developments Ltd & Ors. v. Mazepin & Ors. [2022) IEHC 167
          ("Trafalgar'), a set-aside application was based, inter alia, on the act of state/non-

12 A
13     s explained in detail in Grounds II and Ill below.
14 The Republic signalled this in the affidavit of Juan Ignacio Stampalija sworn on 18 March 2025.
th Furthermore, the duty on courts to consid.er state immunity (of their own motion) was emphasised recently by
     e UK Supreme Court in Embassy of Saudi Arabia v Constantine (2025] UKSC 9.

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      justiciability doctrines. The case concerned allegations of conspiracy made by
      shareholders to a company incorporated in Russia. The defendants alleged that parts
      of the plaintiffs' case required the Irish courts to consider decisions taken by the Russian
      courts and by Russian regulatory and administrative authorrnes.

52.   Barniville J. (as he was then), refused to decline jurisdiction on this basis, at §229-232,
      noting inter alia that the plaintiffs did not seek to overturn, quash or reverse the
      decisions, proceedings and procedures of various Russian administrative, regulatory
      and executive bodies. He also noted that there was "a very real question as to whether
      the "act of state" doctrine or the related doctrine of non-Justiciability applies at all to
      foreign judicial acts" (§232). Barniville J. concluded that the plaintiffs had demonstrated
      "at least a good arguable case that they are not precluded from maintaining the
      allegations" (§249) which were challenged by the defendants on the basis of these
      doctrines. It was held that the defendants did not put forward a "knockout blow'' or
      "unanswerable response" to the plaintiffs' case that the doctrines did not apply, and it
      would be a matter for the trial judge to determine whether the plaintiffs succeeded on
      them.

               Application

53.   For all of the reasons detailed in Grounds II and Ill below, the doctrines of sovereign
      immunity and act of state are engaged, and it is submitted that these proceedings are
      non-justiciable. The Republic submits that these issues going to the very heart of
      jurisdiction must be determined. Furthermore, insofar as there is any conflict of evidence
      that is material to the outcome of these issues, they should be decided in a plenary
      hearing.

54. The Republic submits that this approach is consistent with Quinn, as the Republic must
    not be obliged to come to Ireland to defend a case which has "no prospect of being
    capable of being proven" (§54).

55.   It is submitted that Trafalgar should be distinguished, in light of the particular facts of this
      application, involving as it does a nation State. The burden remains at all times on the
      Plaintiffs to establish jurisdiction. Furthermore, it is not apparent that cases such as
      Rayner were considered in Trafalgar. However, if the Court follows the approach of
      determining that the Plaintiffs need only show a good arguable case that they are not
      precluded from maintaining their recognition and enforcement application on the basis
      of the doctrines of sovereign immunity and act of state, then it must follow that if these
      issues are not finally determined on this application, the Republic is entitled to fully
      ventilate them again in any subsequent proceedings.
                                                                                                         •
      (ii)   Practical Benefit

             The Test
56 - In Albaniabeg, Hogan J. held, at §24, that the "practical benefit' limb of the test reflected
     the principle that a court "will not act in vain". Hogan J. held that the real question was
     Whether the enforcement of the Albanian judgment in this jurisdiction would serve "any
     useful purpose" given the absence of any assets of ENEL in this jurisdiction (§35).
     Hogan J. noted, at §36, that it was not a precondition to the exercise of the court's
                                                                                                   10
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      discretion that the proposed defendants should have "already assets" within the
      jurisdiction.

57.   Hogan J. discussed Yukos Capital Sari v OAO Tomknefit VNK [2014] IEHC 115
      ("Yukos") and Tasarruf Mevduati Sigorta Fonu v. Demirel [2007] 1 WLR 2508
      ("Tasarruf'), both considered below. Hogan J. reached the following conclusion, at §49:

            "The underlying principle. nevertheless, remains that there must be some prospect
            that a iudgment creditor will obtain a benefit from commencing enforcement
            proceedings in respect of the foreign judgment in question. While, as Clarke J.
            said in Quinn, the bar regarding the grant of leave under Ord. 11 is a low one, it is
            nonetheless not asking too much of that litigant to demonstrate that it stands to
            obtain some practical benefit from those enforcement proceedings, even if that
            benefit is an indirect or prospective one."

58.    In Albaniabeg, Hogan J. provided two main rationales for the requirement of practical
       benefit, at §50-51:

            "First, there are considerations of costs. The cost implications are obvious,
            because if Albaniabeg is correct, every foreign judgment creditor in whose favour
            an award has been made in a commercial dispute could - in principle, at least -
            seek enforcement in the Irish courts by reason of the status of Dublin as a global
            financial centre. regardless of whether there was any prospect of recovery or
            material benefit (even if indirect), thus increasing the costs for both themselves
            and the judgment debtor.                                                                   •

             Second, the courts are under a duty to manage their own affairs such that scarce
            judicial resources are conserved and are best utilised for the benefit of al/ litigants.
             Those resources are generally not well utilised where judicial energies are
            expended on an issue with no real connection with Ireland and where the
            prospects of a judgment creditor recovering assets in Ireland are remote or
            tenuous .... "

59.   In Albaniabeg, Hogan J. looked at the evidence of ENE L's assets within the jurisdiction.
      ENEL had listed a number of debt securities on the Irish Stock Exchange ("ISE") .
      However, at §53-54, Hogan J agreed that this was insufficient, not least because those
      assets had English or New York jurisdiction clauses. He was satisfied that there were
      no current assets within the jurisdiction and no evidence of a real prospect of any assets
      coming into the jurisdiction (§57-58).

60.   Hogan J. held that the next question was whether it would be appropriate to permit the
      plaintiff to commence the enforcement proceedings on the ground that it desired the
      imprimatur of the Irish courts. He noted that Ireland was the fifth jurisdiction in which the
      Plaintiff had applied for recognition and enforcement of the Albanian judgment and that
      the other four jurisdictions (New York, The Netherlands, Luxembourg and France) were
      all highly respected venues for the resolution of international commercial disputes.
      Importantly, Hogan J. held, at §63 that:

            "While there may well be cases where a court would be prepared to grant leave
            for Ord. 11 purposes simply for the purposes of simply enabling a judgment

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            creditor to obtain the imprimatur of the Irish courts in the manner which I have
            indicated, nevertheless - as Yukos indicates - it would be rarely correct to do so
            for this sole purposes when enforcement proceedings have been determined or
            are pending in the courts of other third party iurisdictions. ·This is especially so
            having regard to the questions of comparative cost and convenience which I now
            propose to consider'.

61.   At §71 of his judgment, Hogan J. concluded:

            "while the court may well have a jurisdiction to grant leave for Ord. 11, r. 1(q)
            purposes where the sole purpose of the application is to ensure the imprimatur of
            the foreign iudgment by an Irish court, even if there is no actual material benefit,
            cases of this kind are likely to remain unusual, even exceptional. Leave should not
            normally be granted in such cases where enforcement proceedings have already
            been determined or are pending in other third country iurisdictions."

62.   The decision in Yukos is also a leading High Court authority on set-aside applications
      relating specifically to Order 11 , rule 1(q) RSC. The applicant was a Luxembourg
      company which sought to enforce an international arbitration award in Ireland against a
      Russian corporation. Kelly J. (as he then was) set aside the order of the High Court
      which had granted leave.

63.   On the "practical benefif' question, Kelly J. had regard to the defendant's affidavit
      evidence to the effect that there were no assets at all in the jurisdiction. He held, at § 107:
            "The response to these assertions is rather limp. The applicant appears to accept
            that there are no assets in Ireland but says that a recognition and enforcement of
            the award here "would permit enforcement of the award against any future assets
            of the respondent in the jurisdiction, including any debts owed now or in the future
            to the respondent by any party present in this jurisdiction".

64. The plaintiffs position equated to a "for/om hope based on little or no evidence that at
    some stage in the future, assets may become available against which execution could
    take place in this jurisdiction" (§ 111 ).

65.   Kelly J. then reviewed Tasarruf, and held that in the absence of assets in or likely to be
      in this jurisdiction, the question was what "solid practical benefit' would ensue if the
      award was enforced (§124).

66.   Kelly J. noted that the plaintiff also asserted recognition would be advantageous
      because Ireland was an unbiased and internationally respected Court and that a
      judgment could be enforceable in other jurisdictions. He noted that the plaintiff had               •
      sought and failed to obtain recognition in France and that recognition was underway in
      the courts of Singapore. The Court concluded, at §141-142 that it was not appropriate
      for the Irish Court to assume jurisdiction:

            "It is a case with no connection with Ireland. There are no assets within this
            iurisdiction. There is no real likelihood of assets coming into this jurisdiction. This
            is the fourth attempt on the part of the applicant to enforce this award. There is
            little to demonstrate any "solid practical benefit" to be gained by the applicant. The

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            desire or entitlement to obtain an award from a "respectable" court has already
            been exercised in the courts of France and is underway in the courts of Singapore.

            The respondent has already had to undertake a defence of the proceedings in
            Russia and in France and has been successful to date in so doing. It would be
            unjust to require the respondent to yet again defend its position. The respondent
            should not be forced to come into a third state (Ireland) which is foreign to it and
            re argue its case again...11




67.   The Plaintiffs, at the ex parte leave stage, laid some emphasis on the decision of
      Trafalgar, a decision where leave to serve out was not set aside. However, this was a
      case with very different facts, and it can be easily distinguished. First, it did not relate to
      enforcement of a judgment, and instead was based on Order 11, rule 1(h) RSC. Second,
      central to the Court's reasoning was the presence of a strong Irish connection. The
      plaintiffs claimed that parties known as the Russian UCCU defendants were parties to a
      conspiracy. The conspiracy was also alleged to involve an Irish company, Eurotoaz Ltd.
      The Court was satisfied that the UCCU defendants were necessary and proper parties
      to an action properly brought by the plaintiffs against Eurotoaz. Barniville J. distinguished
      Albaniabeg and Yukos, holding at §197, "Here, however, there is an Irish defendant
      (Eurotoaz) against whom the plaintiffs intend to proceed and, to that extent, an Irish
      Connection.  11




68.   The Plaintiffs also laid emphasis on Tasarruf, where it was held that a "practical benefif'
      could be "indirect or prospective". However, it was also expressly noted that it will not
      ordinarily be "jusf' to permit service out of the jurisdiction "unless there is a real prospect
      of a legitimate benefit to the claimant from the English proceedings" (§27). Furthermore,
      Tasarruf can be readily distinguished on its particular facts. The Court of Appeal
      considered a set of circumstances involving fraud and concern about the shelter of
      assets by a private person (§39).

69.   Furthermore, in Albaniabeg, Hogan J. held that Tasarruf "must be viewed as a case
      where on the facts of that case the English Court of Appeal thought that there was a real
      prospect that the plaintiff bank would obtain a real benefit by seeking to enforce the
      judgment in that jurisdiction" (§43). In Yukos, it was held by Kelly J. that the factual
      situation in Tasarruf was very different to the facts of that case (§ 123). Similarly, the
      case has no bearing on the facts obtaining in these proceedings.

70.   Finally, the decision of the High Court of England and Wales in Caterpillar Financial             •
      Services (Dubai) Limited v National Gulf Construction LLC [2022) EWHC 914 which
      again , was relied upon by the Plaintiffs at the ex parte stage, has limited application .
      Importantly, in that case, there was a connection with the UK. At §31, it was held that
      one of the defendants' groups was an import and export company and there was a
      reasonable prospect that some transactions may involve import or export from England
      or involve the movement of assets through London . No Irish Court has approved of this
      decision. Furthermore, there is no Irish connection in this case.




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                  Application

71.    The affidavit of Mr. Betancor Alamo sworn on 18 April 2024 provided, at § 138 that the
       Plaintiffs "continue to investigate the nature and extent of the assets of the Argentine
       State in various jurisdictions". During the ex pa rte application, a week later, the Plaintiffs
       stated that they had "not identified yet assets within the jurisdiction". 15

72.    Mr. Jose Ignacio Garcia Hamilton, the Legal and Administrative Secretary of the Ministry
       of Economy of the Republic, swore an affidavit on 6 December 2024 which detailed the
       position as regards assets of the Republic in this jurisdiction and confirmed:

         (a) that the only assets of the Republic in Ireland relate to diplomatic and consular
             representation (§5);

         (b) that there are no debt securities listed by the Republic in this jurisdiction (§7);

         (c) that there is no prospect of any assets of the Republic coming into this jurisdiction
             in the near or medium future (§8)

73.    None of the affidavits sworn by the Plaintiffs has challenged this evidence.

74.    Mr. Betancor Alamo makes reference, at §142 of his affidavit sworn on 18 April 2024, to
       Ireland being "the place of domicile for 6% of worldwide fund investment assets" and at
       §143, he avers that" Ireland is a jurisdiction in which Argentina could list debt securities".
       At §72 of Mr. Betancor Alamo's affidavit of 14 February 2025, he avers that the examples
       of investment funds and debt securities are "representative only" and that is "readily
       possible to envisage many other asset classes which might become present in Ireland."

75.    This Republic submits that these averments amount to a "forlorn hope" based on no
       evidence that assets might become available against which execution could take place
       in this jurisdiction (Yukos §111 ). Furthermore, the situation regarding potential assets is
       even weaker than in Albaniabeg, where debt securities had actually been listed on the
       ISE, and service was still set aside.

76.    The Plaintiffs detail a range of potential procedural tools which they say might be
       available to them in this jurisdiction if the New York Judgment is recognised (§135-144
       of Mr. Betancor Alamo's affidavit of 18 April 2024). The Plaintiffs emphasise that it is
       important for them to be in a position to quickly enforce the New York Judgment if and
       when assets become available (§71 and §74 of Mr. Betancor Alamo's affidavit of 14                         •
       February 2025). Several points can be made in response.

77• First, there is uncontested evidence that there is no prospect of any assets of the
    Republic coming into this jurisdiction in the near or medium future. 18 Accordingly, having
    access to procedures such as charging orders in respect of shares owned by the
    Republic in any Irish company (§141 of Mr. Betancor Alamo's affidavit of 18 April 2024)
    is meaningless, and does not constitute a practical benefit.

15 S
De ee Page 33 of the Transcript at Tab 12 of exhibit ADLC1 to the affidavit of Mr. de la Cruz, sworn on 9
16 cember 2024.
  Again, this is set out in the affidavit of Mr. Garcia Hamilton, at §8.
                                                                                                            14
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78.   Second, the Plaintiffs discuss obtaining facilities such as 9iscovery in aid of execution
      or requiring an appropriate representative of the Republic to give evidence on oath in
      relation to the ability of the Republic to satisfy the New York Judgment (§140 of Mr.
      Betancor Alamo's affidavit of 18 April 2024). However, there is now evidence on oath
      regarding the position in relation to current and prospective assets in this jurisdiction. In
      the circumstances, procedures designed to establish whereabouts of the assets of the
      Republic in this jurisdiction are redundant.

79.   Third, and relatedly, the Plaintiffs are engaged in extensive enforcement efforts in the
      US which involve discovery procedures designed to establish the position as regards
      assets on a worldwide basis. This was not disclosed at the leave stage, and it has never
      been explained on affidavit why there was a failure to impart this important information.
      On 16 October 2023, the Plaintiffs began a process of discovery in aid of execution in
      the US.17 To date, the Republic has delivered over 9,000 documents to the Plaintiffs,
      setting out the position as regards assets in multiple jurisdictions.18

80.   For instance, on 12 April 2024, before the ex parte leave application , and prior to the
      swearing of the affidavits which underpinned it, the Republic produced deeds relating to
      diplomatic/consular real estate in Ireland. Furthermore, the Plaintiffs had already, prior
      to the leave application, served document subpoenas on various parties seeking
      information as to any bank accounts held by the Argentine Republic worldwide, including
      those held in the Republic of Ireland.

81.   In addition, on 1 April 2024,19 the Plaintiffs moved for a motion for injunction and
      turnover, requesting the SONY Court to order the Republic to turn over its shares of YPF
      in partial satisfaction of the New York Judgment.

82.   A full chronology of the steps taken in the post-judgment US enforcement efforts is
      contained at Appendix 1.

83. When the full picture is available, it is apparent that several of the procedural remedies
    to which the Plaintiffs seek access in this jurisdiction are wholly duplicative of their efforts
    in the US.

84.   Incidentally, the Plaintiffs have provided a quote from Judge Preska, at §56 of the final
      affidavit of Mr. Betancor Alamo in respect of the Set-Aside Application, sworn on 31
      March 2025, to which the Republic has no liberty to reply. It is misleading, as it was                               •
      made in respect of one of the Plaintiffs' over one hundred document requests, in
      circumstances where the Republic had a relevance objection. The Republic has
      complied in full with all orders to produce documents, and in fact the Plaintiffs do not
      suggest otherwise.


11 A
18 s detailed more fully in Mr. de la Cruz's affidavit of 17 January 2025 (§69-76).
19 As stated in the Narrative exhibited to the affidavit of Mr. White, at §76.
   1
   ~ should be noted that in the Narrative exhibited to the affidavit of Mr. White at §77, the date provided is 22 April
20 4
      , Whereas in Mr. de la Cruz's affidavit of 17 January 2025 at §76, the date provided is 1 April 2024. This is due
1
; ~~e fact that the Plaintiffs fi rst filed their motion under seal (not on the docket) on 1 April 2024, but when the
      Y Court denied the filing under seal, the Plaintiffs made their motion on the docket on 22 April 2024.
                                                                                                                     15
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85.   Fourth, while the Plaintiffs do not provide any detail as regards their US enforcement
      efforts in their affidavits, at §73 of Mr. Betancor Alamo's affidavit of 14 February 2025, it
      is briefly averred that Irish enforcement processes would be available to the Plaintiffs
      throughout the life of any judgment which might be obtained, and that "the fact that the
      plaintiffs have previously obtained information and documentation in aid of execution by
      order of the New York court does not undermine this benefif'.

86.   In other words, the Plaintiffs appear to acknowledge that they know now the position as
      regards the Republic's assets, but that it would still be valuable to them at some
      unspecified point in the future to conduct another trawl for information. There is no
      jurisdiction to entertain these proceedings on the basis that enforcement processes
      might possibly prove useful in the future. In Yukos, Kelly J. was not satisfied to allow
      jurisdiction based on the argument that recognition and enforcement, "would permit
      enforcement of the award against any future assets of the respondent in the jurisdiction
      during the operative period (12 years) of such order' (§107.) Furthermore, it should be
      added that the Plaintiffs may continue to obtain information and documentation in aid of
      execution in the future in the US Proceedings, including in relation to Ireland, provided
      the New York Judgment is not vacated.

87.   Fifth, the Plaintiffs have belatedly introduced the idea of the benefit that might be
      obtained if an order recognising or enforcing the New York Judgment in this jurisdiction
      benefited from presumptive recognition throughout the European Union under the
      provisions of the Recast Regulation, in particular Article 36 thereof (§75-76 of Mr.
      Betancor Alamo's affidavit of 14 February 2025). This potential benefit was not raised at
      the leave stage, or in any affidavit prior to that delivered in February 2025. It is submitted
      that even if the Plaintiffs were correct that presumptive recognition would follow from an
      Irish order, it is too remote to constitute a legitimate or " solid practical benefif' (Yukos,
      §124), for the following reasons:

          87.1 The Plaintiffs' arguments depend on Ireland deciding these proceedings, on
               a substantive basis, first in time. Even if the Plaintiffs can establish jurisdiction,
               the range of defences the Republic has outlined means that it is likely the
               parties would subsequently be engaged in contentious and lengthy plenary
               proceedings. For instance, the prohibition on champerty and maintenance in
               th is jurisdiction is a point which will complicate the Plaintiffs' efforts to enforce
               here.

          87.2 Presumptive recognition does not deprive the party against whom                          •
               enforcement is sought of the right to oppose enforcement of that judgment by
               relying on one of the grounds for refusal in accordance with Article 45 of the
               Regu lation. For example, in accordance with Article 45(1)(a), read in
               conjunction with Article 46, recognition of a judgment can be refused if such
               recognition is manifestly contrary to public policy in the Member State
               addressed.

          87.3 The Plaintiffs have failed to identify on affidavit another EU Member State
               where they have established the presence of assets of the Republic, current


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                  or prospective. It would be logical to commence enforcement proceedings in
                  such a State.

           87.4 In Yukos, an averment to the effect that a judgment or order of the Irish Court
                "may also be enforceable in other jurisdictions" (§108) was insufficient.

           87.5 This prospective benefit is another way of expressing a desire to obtain the
                imprimatur of a respected EU court. However, where proceedings are pending
                in other Member States, as they are here in several jurisdictions, leave to
                serve out should be exceptional, and is not normally granted (Albaniabeg and
                Yukos).

88.   Sixth, the Court is entitled to take into account the comments made by Burford in respect
      of the true intent of the Plaintiffs' worldwide enforcement campaign. In Burford's earnings
      call of 7 November 2024, which was detailed in §138-142 of the affidavit of Mr. de la
      Cruz, sworn on 9 December 2024, the goal of the Plaintiffs' enforcement campaign was
      expressed to be to "apply pressure and create friction" on a sovereign State to force it
      to negotiate, and to throw "sand in the gears" in the attempt by that State to rejoin the
      capital markets and participate in the global economy. Burford revealed that the primary
      aim was not "actually seizing and selling off assets".

89.   Seventh, insofar as it has any relevance, the Plaintiffs have engaged in extensive
      criticism of the conduct of the Republic in its "engagement with its financial obligations",
      at §41-51 in the final affidavit of Mr. Betancor Alamo in respect of the Set-Aside
      Application, sworn on 31 March 2025, to which the Republic had no liberty to reply.
      However, the allegations were repeated in the affidavit of the Mr. Betancor Alamo sworn
      on 22 April 2025 in respect of the Stay Application, and so the Republic addressed them
      in the affidavit of Mr. Juan Ignacio Stampalija sworn on 30 April 2025.

90.   In short, as set out in that affidavit, the criticism is gratuitous, and the Plaintiffs have
      selectively presented material and relied on some outdated cases. Notably, the Plaintiffs
      chose not to refer to decisions such as Bison Bee LLC v. Republic of Argentina, a
      decision of 4 October 2019 ,20 where the Second Circuit commented that: "[In] NML
      Capital, Ltd v Republic of Argentina, 727 F.3d 230, 247 (2D Cir. 2013) ... .we held that
      Argentina violated the pari passu clause at issue because it was, at the time, a 'uniquely
      recalcitrant debtor.' ... But times have changed, and Argentina is 'uniquely recalcitrant'
      no more. It is for this reason that we went so far as to affirm the vacatur of a pari passu
      injunction against Argentina just a few years ago ...". 21


: Bison Bee LLC v. Republic of Argentina, 778 F. App'x 72 (2d Cir. 2019).
  And see:
    (i)    Ladjevardian v. Republic of Argentina, No. 06 Civ. 3276 (TPG), 26 May 2016, in the context of
           the "Holdout Litiga tion•, where Judge Griesa of the SONY Court noted, at p.1, that • after a new
           administration came to office, the Republic announced a global settlement proposal in February
           2016 .. . the new administration also entered into negotiations with many FAA bondholders and
           began reaching settlement agreements. After just a few weeks, bondholders owning the vast
           majority of outstanding claims had agreed to settle, leaving only a few who continued to hold out
             "
    (ii)   Bugliotti v. Republic of Argentina, 952 F.3d 410 (2d Cir. 2020), 17 March 2020, where the Second
           Circuit stated that "As we have previously explained, mere selectivity in payment among FAA
           bondholders is not enough to give rise to a pari passu violation .. . Plaintiffs have not alleged facts

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91.       In conclusion , although it is not a precondition to the exerci~e of the discretion to permit
          service out of the jurisdiction that the proposed defendant must have assets within the
          jurisdiction, as there are no assets, no prospect of assets, and as no solid or legitimate
          practical benefits of any kind have been identified by the Plaintiffs, both Albaniabeg and
          Yukos dictate that it is then appropriate to consider whether a desire to obtain the
          imprimatur of Irish courts is sufficient.

92.       In this case, in circumstances where exequatur proceedings are pending in five other
          jurisdictions (the UK, Cyprus, France, Luxembourg and Canada), leave to serve out
          should not be granted.

          (iii)      Order 11, rule 2 RSC

                     The Test

93.       In Albaniabeg, Hogan J. considered Order 11 , rule 2 RSC, and noted that the companies
          involved were Italian and Albanian . He said that an Irish court would have to consider a
          number of matters in light of the prospective defences to recognition and enforcement
          which ENEL proposed to raise, including the regularity of that judgment, the manner in
          which it was obtained , and whether fair procedures were observed. He stated that
          witnesses giving evidence as to matters of fact, or as expert witnesses, for example on
          matters of law, would have to travel from Albania and Italy and that a relatively lengthy
          and costly enforcement hearing could not be excluded. He concluded, at §64:

                  "Enforcement proceedings have already issued in a variety of other jurisdictions. I
                  agree with McDermott J. that it cannot be fair to the defendants to require them to
                  attend in yet another foreign jurisdiction to defend yet a further round of
                  enforcement proceedings having regard to the overall cost implications of such
                  fresh proceedings and the lack of any real prospect of achieving any purpose by
                  seeking to secure the enforcement of the Albanian iudgment here. This is
                  especially so when the subiect matter of the dispute has no connection with Ireland
                  whatever."

94.       In Yukos. Kelly J. when examining the question of comparative cost and convenience,
          held, at §81 , that the provisions of Order 11 , rules 2 and 5 were of "general application
          to all applications which fall to be made under the order [Order 11 RSC)". He
          summarised the import of Order 11, rule 2 RSC, at §92:

                  "Before the Irish Courts assert jurisdiction over a foreign defendant, they must be                       •
                  satisfied that the case is a proper one in which to do so. One consideration which
                  has to be borne in mind in that evaluation is the comparative cost and convenience
                  of the proceedings in this country. "



                  sufficient to disturb our more recent conclusion [in the Bison Bee case] that 'Argentina is 'uniquely
                  recalcitrant' no more'".
      (iii)       The recent Palladian litigation in the UK, referenced by the Plaintiffs, where it should be noted that
                  Argentina has complied with court orders (including by agreeing to the drawdown of the letter of credit
                  in January 2025 and paying the claimants' costs in February 2025) and where negotiations for the
                  payment of the judgment are underway.


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95.   Kelly J. noted that in McCrea v. Knight[1896] 2 I.R. 619, con':'enience meant "fitness,
      propriety and suitableness". The Court found assistance in decisions dealing with forum
      non conveniens. Kelly J. was not satisfied , in all the circumstances, that he shou ld
      exercise his discretion to allow the action to proceed in Ireland (§140-142).

                 Application

96.   The Plaintiffs maintain throughout their various affidavits that the question of
      comparative cost and convenience does not arise. 22 In §85 of Mr. Betancor Alamo's 14
      February 2025 affidavit, it is argued that as it is not possible to seek "recognition or
      enforcement of the New York Judgment in Ireland before the cowts of Argentina", the
      rule does not arise.

97.   However, at the ex parte leave hearing on 25 April 2024, when questioned by Twomey
      J. about this limb of the test, the Plaintiffs did not deny it was of application , and in fact
      claimed the test was fulfilled. 23 Emphasis was laid on the value of the New York
      Judgment, and with the cost of recognition or enforcement in any individual jurisdiction
      said to be "completely insignificant relative to that claim". 24

98.   Several points can be made in response to the arguments made by the Plaintiffs, and in
      support of the contention that comparative cost and convenience points away from this
      Court assuming jurisdiction.

99.   First, key judgments such as Albaniabeg and Yukos involved consideration of Order 11 ,
      ru le 2 RSC . In Yukos, it was described to be a rule of general application to Order 11
      RSC cases (§81 ). The Plaintiffs have framed the proceedings in a narrow and incorrect
      manner. This is a recognition of foreign judgment application. It is possible to initiate it
      in a variety of jurisdictions, including in the Republic. Incidentally, the Republic
      highlighted at §67 of the affidavit of Mr. de la Cruz of 17 January 2025 that there had
      been no enforcement steps in the Republic. In the final affidavit of the Plaintiffs in respect
      of the Set-Aside Application, sworn on 31 March 2025, to which the Republic has no
      liberty to reply, Mr. Betancor Alamo sets out a range of reasons (at §87-102) why the
      Plaintiffs are not seeking to enforce in the Republic.

100. The Republic refutes all of these reasons. The Plaintiffs rely heavily on the Naveira
     Declaration from 16 October 2015. To the extent that these criticisms of the Republic
     retain any currency at a remove of a decade, the Republic relies on the Javier Errecondo
     Declaration of 9 November 2015, which it filed in the US Proceedings in rebuttal, and
     which it has exhibited in these proceedings.25 This Declaration addresses the
     independence of the Argentine courts, alleged delays in litigation, litigation costs
     (including the 3% tax which Mr. Betancor raises and which Errecondo notes can be
     waived in certain circumstances such as in the Plaintiffs' case) , and access to discovery.




: ~ee the affidavit of Mr. Betancor Alamo of 18 April 2024, §161.
24 See page 32 of the Transcript.
25 ee Page 54 of the Transcript.
   See Tab 3 of" JIS 1" exhibited to in the Affidavit of Juan Ignacio Stampalija sworn 18 March 2025.

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101. In respect of the narrative about the King & Spalding LLP prosecution, as confirmed in
     the Declaration of Bernardo Saravia Frfas, of 29 August 2019,26 the complaints were
     investigated and dismissed with prejudice. The Plaintiffs fail to mention that in the 2020
     Opinion and Order, which followed the Republic's second motion to dismiss, 27 Judge
     Preska observed that any previous concern had been "obviate[d]" by the dismissal, and
     that the investigation showed "no evidence of any improper conduct by Argentine
     executive or judicial officials." Ultimately, the Court found that the Republic would have
     been an adequate forum.

102. With respect to Mr. Betancor Alamo's final point, that the New York Judgment would not
     be recognised in the Republic, as a matter of law, the Government cannot fulfil the
     judgment until it is final, that is, all appeals have been exhausted. In Argentina, foreign
     judgments can be enforced through exequaturproceedings (provided for in Articles 517
     and 518 of the National Civil and Commercial Procedural Code). In the case of final and
     enforceable judgments against the State, they are to be paid with sums allocated in the
     general budget; otherwise, a local court with jurisdiction over the Government may
     instruct payment in enforcement proceedings, and if the instruction is not honoured,
     enforce the judgment directly.28

103. Second, in Albaniabeg, the Court of Appeal did not appear to confine itself in strict terms
     to examining the suitability of Ireland as a place to litigate, versus that of Albania.
     Instead, as set out above, the Court focused on the unattractive prospect of witnesses
     having to travel to this jurisdiction from Albania and Italy to give evidence as to matters
     of fact, or as expert witnesses, for example on matters of law. Nor in Yukos, did Kelly J.
     only consider Ireland versus Russia. Instead, he considered in more general terms the
     issue of the "comparative cost and convenience of the proceedings in this country'' under
     the lens of "fitness, propriety and suitableness" and forum non conveniens (§93-94). It
     is submitted that an analysis of the "comparative cost and convenience of proceedings
     in Ireland, or in the place of the defendant's residence" is not particularly apt in the case
     of a defendant nation State, and it is submitted that the Court should adopt the approach
     in Albaniabeg and Yukos. However, even if the Court were to only analyse comparative
     cost and convenience by reference to this jurisdiction and the Republic, it is obvious that
     to bring the Republic before the Irish Courts would be far more costly and inconvenient
     than if the proceedings were in the Republic.

104. Third, and relatedly, there are a range of defences to recognition which the Republic
     will maintain should jurisdiction be established .29 In §85-95 of the affidavit of Mr. de la             •
     Cruz of 17 January 2025, he outlines the range of issues on which foreign witnesses
     would have to travel and give evidence of fact and/or law in plenary proceedings. These
     issues include complex matters of Argentine expropriation law, and the nature of the
     funding agreements behind the proceedings.




25
   Ibid
27 S •
28 ee Tab 30 of the exhibits to the affidavit of Mr. Betancor Alamo of 18 Ap ril 2024, at p. 22-24.
§}he Republic submitted a Declaration from Professor Alfonso Santiago dated 16 May 2024 on this point (see
  5
29 -32), and it will seek liberty to rely on this Declaration.
  These have been set out in Section Ill of the affidavit of Mr. de la Cruz of 9 December 2024.

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105. The Plaintiffs do not accept that proceedings will be as protracted or complex as the
     Republic suggests. This is based on the assertion that the issues on which the Republic
     seeks to rely have been already been "conclusively determined', against the Republic in
     the US Proceedings, and that there is no bona fide defence to the claim. 30 However, as
     confirmed in Mr. White's affidavit (§16), arguments relating to sovereign immunity, act
     of state and champerty were only determined by reference to US law, and not Irish law.
     There is no engagement by the Plaintiffs with the details provided by the Republic of the
     witnesses it would need to give evidence. Furthermore, it is sufficient if this Court is
     satisfied that "a relatively lengthy and costly enforcement hearing cannot be excluded'
     (§65 of Albaniabeg) .

106. Fourth, an analysis focusing on the size of the New York Judgment does not go towards
     showing Ireland is the forum conveniens. Order 11, rule 2 RSC states that the Court
     "shall have regard to the amount or value of the claim or property affected and to the
     comparative cost and convenience ....". These are two separate matters to which the
     Court has regard. The Plaintiffs' focus on the question of the scale of New York
     Judgment as compared to the cost of its recognition does not demonstrate the fitness,
     propriety and suitableness of this jurisdiction for these proceedings. Furthermore, it is
     worth noting that the Court in Albaniabeg considered a very sizeable judgment, yet this
     was not determinative, and service was set aside.

Conclusion on Ground I:

107. In conclusion , these proceedings have no connection with Ireland whatsoever. In
     circumstances where:

        (i)      there are no assets of the Republic in this jurisdiction other than diplomatic and
                 consular ones;
        (ii)     there is unchallenged evidence of the lack of likelihood of any assets of the
                 Republic coming into this jurisdiction in the near or medium future;
        (iii)    there are no meaningful procedural remedies potentially available to the
                 Plaintiffs in this jurisdiction which are a) not premised on the presence of assets
                 and b) not duplicative of the US enforcement efforts already underway;
        (iv)     the Plaintiffs' desire to obtain the imprimatur of a respected EU court is
                 conditioned by the fact that Ireland is one of six jurisdictions where enforcement
                 proceedings have been initiated;
        (v)      the comparative cost and convenience of proceedings in this jurisdiction point
                 away from the fitness, propriety and suitableness of Ireland to hear this case,
                                                                                                             •
        it would be wholly inappropriate, unjust and contrary to precedent reflecting important
        policy considerations for the Irish Courts to assume jurisdiction for proceedings which
        would serve no useful purpose.

108. Under Order 11, rule 5 RSC, the Plaintiffs have not satisfied the Court that the case is a
     "proper one" for service out of the jurisdiction.




JO At §87-§90 of the affidavit of Mr. Betancor Alamo sworn on 14 February 2025.

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109. Finally, the Republic also submits that serious material non-disclosure on the part of the
     Plaintiffs at the ex parte leave stage warrants in itself set-a~ide of the grant of leave. As
     detailed above and in various affidavits of the Republic, the Plaintiffs failed to disclose
     their US post-judgment enforcement efforts. Neither the affidavit of Mr. Betancor Alamo
     of 18 April 2024 nor the transcript of the ex parte leave application disclose a single
     reference to the extensive efforts which were already underway. The Plaintiffs have not
     addressed this issue, and have failed to provide any explanation as to whether the non-
     disclosure was accidental, negligent or intentional.

110. As set out above, the non-disclosure is material. The Plaintiffs came to Court seeking
     access to Irish procedural options " which would be available to the Intended Plaintiffs to
     establish the whereabouts of the assets of the Argentine State" (affidavit of Mr. Betancor
     Alamo of 18 April 2024, §140). They were already in the course of seeking and
     establishing the whereabouts of the assets, on a worldwide basis. The non-disclosure
     goes to the heart of the question of "practical benefif' .

11 1. The duty of uberrima fides is of particular importance in the context of an application
      seeking leave to serve proceedings outside the jurisdiction. As far back as in Rev.
      Patrick Mccartan v. E. Hulton & Co. Ltd. [1922] 56 I.L.T.R. 13, Samuels L.J. stressed:

            ''These applications for leave to issue and serve writs out of the jurisdiction are of
            great international importance, and the affidavits on which they are granted should
            be impeccable. "

112. Moreover, the courts will set aside an order granting leave to serve proceedings outside
     the jurisdiction where the order was made on foot of an affidavit that is misleading, even
     if it is not intentionally misleading, if the facts that ought to have been disclosed were
     material to the exercise of the Court's discretion (The Attorney•General (ex relatione
     Rev. John Johnston) v. The Irish Society [1892] 26 I.L.T.R. 56 (per Porter MR) and
     see Vodafone GmbH v. IV International Licensing and Intellectual Ventures II LLC
     [2017] IEHC 160, and Ryan v. Governor of Mountjoy Prison [2021] 1 I.R. 590 at §7,
     approving Adams v. OPP [2001] 2 I. L.R.M. 401).

II.    SOVEREIGN IMMUNITY

113. The doctrine of sovereign immunity refers to rules of public international law which
     establish the circumstances in which foreign states and their agents will be immune from
     the jurisdiction of domestic courts. It is the Republic's submission that by virtue of this     •
     doctrine, the Irish courts may not implead the Republic in the within proceedings.

11 4. The landmark judgment of the Irish courts in this regard remains Government of
      Canada v. Employment Appeals Tribunal [1992] 2 I.R. 484 ("Government of
      Canada"), which concerned an employment law dispute raised by a former employee of
      the Canadian embassy in Dublin. The Employment Appeals Tribunal had made an
      award against the Canadian Government, which the nation state subsequently
      successfully sought to quash on the basis of the doctrine of sovereign immunity.



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115. In his judgment, O'Flaherty J. set out the original formulation of the doctrine of absolute
     sovereign immunity, as provided by Lord Atkin in The Cri;Stina [1938] A.C. 485.
     O'Flaherty J. further cited several bases for the doctrine of sovereign immunity, (at p.
     494-495). He determined that under international law, the doctrine of absolute state
     immunity, under which a sovereign was at all times entitled to resist joinder to
     proceedings in a foreign court, had been departed from . He considered that a restrictive
     view of sovereign immunity, which did not extend immunity in respect of a state's
     commercial or trading acts, had been adopted in international law, and that it was
     applicable in Irish law, holding at p.500:

           "1 . I doubt if the doctrine of absolute sovereign immunity was ever conclusively
           established in our jurisdiction.

           2. Assuming that it was, I believe that it is a doctrine that has now expired.

           3. The doctrine flourished at a time when a sovereign state was concerned only
           with the conduct of its armed forces, foreign affairs and the operation of its
           currency. Now w;th so many states engaged in the business of trade, direct or
           indirect, the rule of absolute immunity is not appropriate to such conditions.

           4. However, if the activity called in question truly touches the actual business or
           policy of the foreign government then immunity should still be accorded to such
           activity."

116. Hederman J., delivering the minority opinion of the Court, cited the Irish State's
     obligation, under Article 29.3 of the Constitution , to accept "the generally recognised
     principles of international law as its rule of conduct in its relations with other States",
     which principles, he held, include the doctrine of sovereign immunity.

117. Government of Canada was subsequently affirmed and applied by the Supreme Court
     in McE/hinney v. Williams [1995] 3 I.R. 382 ("McElhinney''), where Hamilton C.J. held
     that the doctrine of sovereign immunity was engaged in respect of the plaintiff's claim
     against the second defendant, the Secretary of State for Northern Ireland, in relation to
     alleged tortious acts committed by a corporal in the British Army who was acting as a
     servant or agent of the government and was acting within the sphere of governmental
     activity.

118. In Brady v Choiseul tla Potato Services [2016] 2 I.R. 337 ("Brady''), the High Court
     (Noonan J.) considered the plaintiff potato farmers' claim against the Department of
     Agriculture and Rural Development of Northern Ireland, in its capacity as the authority
     which held statutory duties relating to the certification of potato seed pursuant to certa in
     Northern Ireland regulations. The plaintiffs had purchased potato seed from the first
     defendant which subsequently failed, and they alleged inter alia that the Department
     had incorrectly certified the seed and was liable for the plaintiffs' losses as it had
     operated its potato seed certification system negligently and in breach of its statutory
     duties.

11 9. The Hig h Court held that the Department was entitled to claim immunity as it was acting
     in a public law capacity in the course of its duties. Importantly, the claim of sovereign


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     immunity was brought in the context of an application under Order 12, rule 26 RSC to
     set aside service. Noonan J. held at § 19-20:

            "The primary issue is whether OARD is entitled to the benefit of sovereign
            immunity in our courts. That is a question of Irish law. ... It seems to me to be clear
             .. . that once the actor concerned can properly be regarded as an agent of the
            state, the only question to be answered is whether the activity concerned is of a
            public rather than private nature.

            In the present case, it cannot be doubted that OARD was at all material times
            engaged in governmental activity. It is common case that such activity was carried
            out as agent and on behalf of the Crown. This is not in dispute. That seems to me
            to be sufficient to ground a claim for immunity. ... Nor can it be doubted that DARO
            in administering the seed certification programme is doing so in a public law
            capacity and is not engaging in trade or commerce.

120. Noonan J. held that the Court lacked jurisdiction to hear the matter and set aside the
     service of the plenary summons and statement of claim on the Department.

121. The law of sovereign immunity in the UK is adjudicated according to the State Immunity
     Act 1978. However, the Irish courts have drawn some guidance from the case law.

122. In Government of Canada, O'Flaherty and McCarthy JJ. approved the dicta of Lord
     Wilberforce in the foundational House of Lords decision in / Congreso de/ Partido
     [1983] 1 A.C. 244 ("/ Congreso"), where he held at p.267:

            "The conclusion which emerges is that in considering, under the "restrictive"
           theory whether state immunity should be granted or not, the court must consider
           the whole context in which the claim against the state is made, with a view to
           deciding whether the relevant act(s) upon which the claim is based. should, in that
           context, be considered as fairly within an area of activity, trading or commercial.
           or otherwise of a private law character. in which the state has chosen to engage.
           or whether the relevant act(s) should be considered as having been done outside
           that area, and within the sphere of governmental or sovereign activity.



123. Lord Wilberforce continued, at p. 269B-C, that the " ultimate tesf': " ...is not just that the
     purpose or motive of the act is to serve the purposes of the state, but that the act is of
     its own character a governmental act, as opposed to an act which any private citizen
     can perform."

124. Subsequent decisions have shown that an overall consideration of context takes place.

125. In Littrell v USA (No. 2) [1995] 1 WLR 82 ("Littrel!'), Rose L.J. identified, at p.91, four
     relevant propositions from the speech of Lord Wilberforce in / Congreso:

           "(1) The court must consider the whole context of the claim to determine whether
           the relevant act was fairly within the activity of a private law character.

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                 (2) The activity must first be characterised as sovereign or non-sovereign: if
                 sovereign, there is immunity; if non-sovereign there is no immunity unless the
                 State can make the case that the particular act complained of is outside the non-
                 sovereign sphere.

                 (3) Focus must be on the nature of the activity. not its purpose.

                (4) The purpose of the restrictive theory is to accommodate the interests of
                individuals doing business or otherwise having private relations with foreign
                governments in having their rights determined by the courts with the interests of
                foreign governments in being free from interference in performing sovereign acts
                without the need to defend or justify those acts in a foreign court."


126. Littrell concerned the question of whether the activity of providing medical treatment to
     the armed forces at an overseas military base was a sovereign or governmental act. The
     Court of Appeal held that the proceedings were barred by state immunity. Rose L.J.
     held, at p.91, that "the court has to look at all the circumstances in relation to the nature
     of the activity and its context and decide whether those factors together-no one factor
     being in itself determinative- characterise the activity as sovereign or non-sovereign".
     It should be noted that in McElhinney, Hamilton C.J. quoted from Littrell.

127. In Kuwait Airways Corp v Iraqi Airways Corp (1995) 1 WLR 11 47 ("Kuwait Airways
     Corp"),31 the House of Lords held inter alia, that the taking of aircraft and their removal
     from Kuwait Airport to Iraq constituted an exercise of governmental power by the State
     of Iraq: p.1163A. KAC had argued that the participation in this activity of IAC, by
     supplying engineers and pilots who performed the "mundane" task of preparing the
     aircraft for flying and then flying them to Iraq was not of a sovereign but a carrier. Lord
     Goff rejected this argument, commenting: "I.A. C. was not just doing a job of work, but
     was closely involved with the State of Iraq in the last stage of an enterprise which
     entailed both the seizure of the aircraft and their removal to Iraq to be used for such
     purposes as the Government of Iraq should direct".

128. Holland v Lampen-Wolfe (2000) 1 WLR 1573 ("Holland') concerned a claim for libel
     by an American civilian employed to teach courses at US bases in Europe. The House
     of Lords held that an unfavourable report by an educational services officer on the
     claimant's teaching was part of a State's sovereign function of maintaining its armed
     forces, and the publication of the memorandum in the course of the defendant's
     supervision of such provision was an act within the sovereign authority of the US so as
     to attract immunity. When viewed narrowly, it is plain that the preparation of an allegedly
     libellous report on a lecturer is something which any private citizen could do.
     Nonetheless, in the circumstances it was deemed a sovereign act. Lord Hope (agreeing
     with Lords Clyde and Millett) emphasised at p.1577 that "it is the nature of the act that
     determines whether it is to be characterised as iure imperii or iure gestionis. The process
     of characterisation requires that the act must be considered in its context." Lord Hope
     stressed that the "overall contexf' of the case was "all importanf'.



31
     The parties are referred to as "KAC" and "IAC".
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129. Finally, in NML Capitalv Argentina (2011] 2 AC 495, the plaintiff had obtained summary
     judgment in New York against Argentina in respect of the p~incipal and interest on certain
     bonds which it had previously purchased from the state. NML then sought to enforce the
     judgment against assets held by Argentina in England, in the UK courts. The UK
     Supreme Court was asked to consider first, whether the claim constituted "proceedings
     relating to a commercial transaction" and therefore fell within the exception to the
     doctrine of immunity set out in section 3(1)(a) of the State Immunity Act 1978, and
     second , whether Argentina had waived immunity as a term of its agreement in issuing
     the bonds in question.

130. While the Supreme Court agreed that Argentina had waived state immunity under the
     bonds issued, a majority of the Court did not consider that the proceedings could be
     viewed as "proceedings relating to ... a commercial transaction": as they related to a
     foreign judgment and therefore not to the commercial transaction of issuing a bond. This
     conclusion turned largely on the interpretation of the 1978 Act, however the following
     comments of Lord Mance, at §86, are of relevance:

                ''The exceptions from immunity provided by sections 2 to 11 of the 1978 Act focus
                on specific conduct (submission) in the domestic UK proceedings or on specific
                transactions, contexts or interests in relation to which causes of action may arise.
                The recognition and enforcement of foreign judgments has long been recognised
                as a special area of private international law. ...
                In this context. it stretches language beyond the admissible to read 'proceedings
                relating to ... a commercial transaction' as covering proceedings relating to a
                iudgment which itself relates to a commercial transaction. The improbability of so
                extended a construction is underlined by the extreme care that the drafters of the
                Act took to define in section 3, in the widest terms, the concept of 'commercial
                transactions'.''32

Application of Sovereign Immunity Doctrine

131 . At§ 109-110 of the affidavit of Mr. Betancor Alamo sworn on 18 April 2024, he avers that
      the questions of sovereign immunity have been finally and conclusively determined by
      the US Courts.

132. However, the question of sovereign immunity requires to be determined by the Irish
     courts according to the binding legal principles set out in Irish law.

133. First, this is required as a matter of constitutional law, pursuant to Article 29.3 of the            •
     Constitution, under which the State (and the courts) are required to accept and apply
     the generally recognised principles of international law in the course of its relations with
     other States. This obligation under the Constitution necessarily entails an inquiry by the
     Irish courts into the applicability of the doctrine in the within proceedings.

134. Second, in Brady, Noonan J. rejected the plaintiffs' submission that the government
     department defendant was not, as a matter of Northern Irish law, entitled to advance a
     claim of sovereign immunity, ruling that the issue of whether the defendant was entitled

32
     Lord Collins and Lord Walker agreed with Lord Mance. Furthermore, see §85 and §116.

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           to the benefit of immunity in our courts was solely a question of Irish law (§19). Equally,
           in the within proceedings the entitlement of the Republic to sovereign immunity must be
           determined according to Irish law, rather than the principles of US law and the provisions
           of the 1976 Foreign Sovereign Immunities Act. 33

135. Third, there is also UK authority which contradicts the Plaintiffs' argument concerning
     the alleged lack of permission of this Court to examine matters examined in the US
     Proceed ings. In Yukos v Rosneft [20 14] Q.B. 458 at §160, the Court of Appeal of
     England and Wales held that if there was an issue estoppel arising from a Dutch court
     decision to the effect that the Russian courts were not independent, the English Court
     should exercise its discretion not to recognise such Dutch judgment. Rix L.J . stated that
     for the English Court simply to accept the Dutch Court's judgment on such matter "would
     be an abdication of responsibility on the part of the English Courf', and a failure of
     "respect and comity"."

136. The Plaintiffs maintain that their claims arose from "private commercial activities" .34

137. First, under the logic of NML Capital, this Court ought to characterise these proceedings
     as properly concerning an entirely different set of issues to those of contract or
     commercial law - being those in relation to the recognition and enforcement of foreign
     judgments, and therefore the proceedings could not per se relate to the Republic's
     commercial activities, as alleged by the Plaintiffs. Accordingly, the Republic must be
     afforded the benefit of state immunity. Adopting the test set out by Noonan J. in Brady,
     the activity concerned is not of a private commercial nature.

138. In the alternative, the Republic submits that the activities impugned in the US
     Proceedings, ought to be properly construed as falling within the sphere of governmental
     or sovereign activity, and that the activities cannot be characterised as private
     commercial activities of a sovereign state.

139. The act which gave rise to the US Proceedings is the Republic's expropriation of a
     majority of the equity of YPF, represented by Class D shares held by Repsol S .A., which
     Plaintiffs argued triggered an obligation to make a tender offer under the YPF Bylaws.

140. The fact that no tender offer was made must be viewed in the context of the decision of
     the Republic to expropriate a majority of the shares in YPF. These were aspects of a
     single sovereign enterprise, namely the decision of the Republic to take into state control
     a majority of the YPF equity for important public interest reasons relating to the stability                       •
     of the supply of energy in the Republic.

141. The overall context is of particular importance, not simply because of the sovereign
     nature of the act of expropriation , but also because of the effect which the General
     Expropriation Law and the YPF Expropriation Law had on any alleged obligation of the
     Republic to make a tender offer under the YPF Bylaws.


i3 A   .
    gain, as confirmed in the affidavit of Mr. White (§16), arguments relating to sovereign immunity, and act of
~Jate have only been determined by refere nce to US law.
  See for instance §11 1-1 12 of the affidavit of Mr. Betancor Alamo of 18 April 2024.

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142. The Republic relies on the detailed legal framework of the Republic set out in Section I
     of the affidavit of Mr. de La Cruz sworn on 17 January 2025. 3~

143. It is only possible here to set out some of the more salient features of the framework and
     events which gave rise to the expropriation:

       143.1 Under the Republic's Constitution, as well as the General Expropriation Law, No.
             21 ,499, the Republic's Congress has the constitutional power to authorise the
             expropriation of an asset in the public interest.

       143.2 The risk to the Republic's energy sovereignty and concerns about
             mismanagement of YPF 36 led to a sovereign decision to expropriate a controlling
             stake of YPF in the public interest.

       143.3 The Government opted for partial expropriation , instead of an open market
             transaction route (with its related tender provisions - section 28 of the YPF
             Bylaws.

       143.4 On 17 April 2012, the Secretary of Economic Policy and Planning Development
             of the Republic, Axel Kicillof, addressed a joint meeting of the Argentine National
             Senate Committees on Budget and the Treasury, Constitutional Affairs and
             Mining, Energy and Fuels regarding the bill which the President had submitted
             to Congress the day previously, and which would become the YPF Expropriation
             Law. The Secretary noted that the bill sought not to expropriate all of YPF, but "a
             part of it, which is the share portion respecting Repsol itself' and that this would
             go "to the National Appraisal Tribunal to pay, according to ... expropriation law,
             what ends up being the real cosf'. Mr Kicillof specifically referred to the YPF
             Bylaws and made clear that the Republic did not intend to undergo the additional
             expense of an open market transaction and the related tender offer obligation
             which such transaction would have entailed. 37

       143.5 The emergency Intervention Decree issued by the President referred to a threat
             to the "energy sovereignty of the country'', and stated that the intervention and
             proposed expropriation were matters of "national public interest'.

       143.6 Article 1 of the YPF Expropriation Law, passed on 3 May 2012 provided:



35
   Further, the Republic relies on the Statement of Material Facts and other memoranda from the US
Proceedings as listed at § 108-111 of this affidavit.
36
   See the Statement of Material Facts at Sections V and VI, and supporting exhibits: Tab 17 of exhibit ADLC1 to
Mr. de la Cruz's affidavit of 9 December 2024.
37
   See §63 of the Statement of Material Facts, and supporting exhibit 21, Transcript of Proceedings of the Argentine
Senate Committees on Budget, Treasury, Constitutional Affairs, and Mining, Energy, and Fuels, dated 17 April
2012), available at Tab 17 of exhibit ADLC1 to Mr. de la Cruz's affidavit of 9 December 2024. A February 2012
interna l report by the Argentine Secretary of Energy Daniel Cameron advised that "The only way to go is
expropriation". The body of the report made clear the expropriation would ensure that YPF would undertake
appropriate investments to prevent further decline in its production capacity, which was affecting Argentina's energy
Policy, and eventually recover its full potential, for the national benefit. There are references to this document on
Pages 2204, 2206 and 2210 of exhibit ADLC1 to Mr. de la Cruz's affidavit of 9 December 2024 (Tab 23: Defendants'
Joint Memorandum of Law in Opposition to Plaintiffs' Motion for Summary Judgment before the SONY Court dated
26 May 2022).

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                        "Achieving self-sufficiency in the supply of hydrocarbons as well as in the
                        exploration, exploitation, industrialization, transportation and sale of
                        hydrocarbons, is hereby declared a national public interest and a priority for
                        the Republic of Argentina. with the goal of guaranteeing socially equitable
                        economic development, the creation of jobs, the increase of the
                        competitiveness of various economic sectors and the equitable and
                        sustainable growth of the provinces and regions. "

         143.7 The Plaintiffs' interpretation of the YPF Bylaws would have rendered the
               Republic unable to accomplish the temporary occupation and expropriation that
               the YPF Expropriation Law required. To summarise certain of the facts which are
               set out in full in the Affidavit of Mr. de La Cruz sworn on 17 January 2025:

                     (i)      As a matter of Argentine law, the YPF Bylaws Plaintiffs invoked as the
                              basis for their claims are matters of Argentine "private law" and thus
                              are displaced and ineffective when they conflict with sovereign acts
                              authorised by Argentine "public law'' (§ 113.2);
                     (ii)     The Argentine Congress specified that the government was to
                              expropriate not any shares, but a 51% stake from a single shareholder
                              -Repsol, which also would have been impossible if a tender offer had
                              been made to all outstanding shareholders. Furthermore, the YPF
                              Expropriation Law required that the National Court of Appraisals would
                              determine under Argentine law the price of the expropriated YPF Class
                              D shares, which provision conflicts with the YPF Bylaws' requirement
                              that the bidder tender at the price fixed by the formula in § 7(f)(v)
                              (§113.5) ;
                     (iii)    As a matter of Argentine law, the Republic could not have both (1)
                              expropriated 51% of YPF's capital stock in the manner it did, and (2)
                              launched the tender offer contemplated in the YPF Bylaws (§113.6);
                     (iv)     Article 28 of the General Expropriation Law extinguishes any third
                              party "encumbrance" on expropriated property and bars any third-party
                              claim that might "impede" the expropriation or "its effects". Such
                              extinguishment includes contractual agreements or commercial
                              obligations triggered by an expropriation, such as the tender offer in
                              the YPF Bylaws (§25) .

144. The decision to expropriate a majority stake of YPF instead of conducting a tender offer
     ought to be recognised as a single sovereign enterprise on the part of the Republic.                          •
     Such activity, per O'Flaherty J. in Government of Canada "truly touches the actual
     business or policy of the foreign government".

145. The Republic will refer to expert evidence supporting its exposition of Argentine law at
     the hearing of these proceedings. 38



38
     Including but not limited to:
       (i)      Dr Ismael Mata's Declaration of 8 September 2015, and Second Replying Declaration of 9
                November 2015, at Tabs 25- 26 of exhibit ADLC1 to Mr. de la Cruz's affidavit of 9 December 2024.
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Ill.          ACT OF STATE

146. The general principle underpinning the act of state doctrine is that " the courts of one
     state will not, at least generally speaking, inquire into or pronounce upon the validity of
     the actions jure imperii of another state", per Hogan J. in Costello v. Government of
     Ireland [2022] IESC 44, at §159. This principle may also be referred to as the principle
     of judicial restraint, or comity of courts.

147 . While the Irish courts have not conclusively ruled on the scope of the application of the
       act of state doctrine to date, the Supreme Court in this jurisdiction has previously referred
      to the doctrine with approval. In Costello, the obiter comments of Hogan J. make clear
      that he considers that the doctrine is in effect in Irish law. While considering the effect of
      the ratification of the Comprehensive Economic and Trade Agreement (CETA) on Irish
      juridical sovereignty, Hogan J. addressed the doctrine at §154-162 specifically:

                  "154 . ... [T]he jurisdiction to determine to invalidate or annul decisions taken by the
                  executive or the Oireachtas is a core feature of the juridical sovereignty of this
                  State and, for that matter, that of other states in respect of their own executive,
                  parliamentary and judicial decisions.

                  155. This is reflected in not only our own rules of private international law but also,
                  for that matter, public international law. Our courts have, for example, consistently
                  held that they have no jurisdiction to pronounce on the actions of the United
                  Kingdom sovereign (including its armed forces) as to do so would represent an
                  unjustified intrusion into the sovereignty of that State . ...

                  159. This is also reflected by general principles of public international law such as
                  the Act of State doctrine whereby (again, absent international agreement) the
                  courts of one state will not, at least generally speaking, inquire into or pronounce
                  upon the validity of the actions jure imperii of another state .. .. "

148. Reflecting similar considerations, the Irish Supreme Court has held in Short v. Ireland
     (No. 2) [2006] 3 IR 297 ("Short') that the Irish courts do not have jurisdiction to
     determine the lawfulness and validity of administrative procedures and decisions of
     another state. There, the plaintiffs sought to challenge a company based in the UK,
     which operated the Sellafield power plant, in respect of its alleged non-compliance with                   •
     Community law. The Court considered that the challenge to the UK-based defendant
     effectively required the Irish courts to adjudicate as to whether the regulatory decisions
     made by the UK authorities were valid.




       (ii)   The reports of Former Judge Alejandro Uslenghi dated 24 September 2021 , 3 December 2021 and
              14 January 2022, at Tabs 27 -29 of ADLC 1.
       (iii)  The reports of Professor Alfonso Santiago of 30 August 2019 and 3 December 2021 , at Tabs 30-
              31 of ADLC1 .
       The Republic will also refer to amici curiae briefs.

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149. The principle of judicial restraint outlined in the decision is salient to these proceedings.
     Fennelly J. held at §48:

             "What is at issue is the jurisdiction of an Irish court to detennine the lawfulness or
             validity, under the law of the United Kingdom, of administrative decisions made in
             that jurisdiction in accordance with national law and procedures. It seems to me
             elementary that our courts have no power to review the lawfulness of
            administrative decisions made by English administrative bodies under English law,
             any more than the English courts would have corresponding power to pass
            judgment on Irish administrative decisions. The courts of each country alone have
             the power to review the leqalitv. within their own frontiers, of decisions of their own
            government and administration."

150. Fennelly J. referred to the decision of the House of Lords in Buttes Gas and Oil Co. v.
     Hammer (No. 3) [1982] A.C. 888. This concerned a dispute between two oil exploration
     companies which required the court to review transactions in which four sovereign states
     were concerned and adjudicate on whether they were lawful under international law,
     which issues the House of Lords ultimately determined were non-justiciable. In Short,
     the unanimous judgment of Lord Wilberforce therein was referred to at §53 of Fennelly
     J.'s judgment.

151. In Brady, where service was set aside under Order 12, rule 26 RSC , the Court was
     satisfied that the substance of the act of state doctrine was implicated, along with
     sovereign immunity. Noonan J. held at §21:

            "In addition, the plaintiffs' claim, whilst fundamentally sounding in tort, specifically
            relies on breach of statutory duty as against OARD. As I have already pointed out,
            the plaintiffs plead that DARO acted in breach of relevant Northern Ireland
            regulations and the correctness or otherwise of such plea would necessarily
            involve this court in an analysis of those provisions and a detennination of whether
            there had been compliance with them. As pointed out by Fennelly J. in Short v.
            Ireland {No. 2)[20061 IESC 46. {200613 I.R. 297 and McGuinness J. in Adams v.
            Director of Public Prosecutions {200111 I.R. 47. the courts of this jurisdiction are
            not competent to adiudicate upon the validity of such administrative and executive
            acts by the agent of a foreign sovereign state acting solely within its own
            iurisdiction."

152. It should be noted briefly that in Trafalgar, discussed under Ground I, the defendants
     therein sought unsuccessfully to have service of the plaintiffs' proceedings set aside on
                                                                                                       •
     the basis inter alia, that the Irish courts did not have jurisdiction to hear the proceedings
     by reason of the act of state doctrine. However, as set out at §51-52 above, the issue
     relating to the act of state doctrine differed significantly to that in the within proceedings.

153. In the UK courts, the scope of the act of state doctrine has been recently clarified. In
     Deutsche Bank AG London Branch v Receivers Appointed by the Court [2023] AC
     156 ("Deutsche Bank'') the issue was whether the UK Government had recognised
     Interim President Guaid6 as Head of State of Venezuela and, if so, whether any
     challenge to the validity of Mr Guaid6's appointments to the Board of the Central Bank
                                                                                                 31
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      of Venezuela was justiciable in an English court. In the UK Supreme Court, Lord Lloyd-
      Jones provided a thorough endorsement of the two aspects of the doctrine, at § 113:
                                                                           '
            "(1) The first rule ("Rule 1") is that the courts of this country will recognise and will
            not question the effect of a foreign state's legislation or other laws in relation to
            any acts which take place or take effect within the territory of that state ...

            (2) The second rule ("Rule 2'J is that the courts of this country will recognise, and
            will not question, the effect of an act of a foreign state's executive in relation to any
            acts which take place or take effect within the territory of that state ... "

154. Rule 1 and 2 can also be termed the Legislative Acts Rule and Executive Acts Ru le
     respectively. The Executive Acts Rule was held to apply to an exercise of executive
     power involved in Mr Guaid6's appointments to the Central Bank's board.

155. Expropriation has long been treated as a foreign act of state, as evident from the review
     of law in Be/haj v. Straw (2017] AC 964, at §35 per Lord Mance. In that decision, Lord
     Sumption, at §225, elucidated what he considered were two main considerations
     underlying the act of state doctrine - comity, and the constitutional separation of powers
     which assigns the conduct of foreign affairs to the executive. Notably, Lord Mance
     characterised foreign act of state as a "principle of non-justiciability, whereby the
     domestic court must simply declare itself incompetent to adjudicate" (§7).

156. Certain exceptions apply to the act of state doctrine, including for acts which take place
     outside of a state's territory, and for commercial activity, as canvassed in Deutsche Bank
     at § 136: " The doctrine does not apply where the conduct of the foreign state is of a
     commercial as opposed to a sovereign character".

157. The UK case law discussed under Ground II all has relevance to the commercial activity
     exception (/ Congreso, Kuwait Airways Corp, and Holland).

Application of Act of State Doctrine

158. The Republic submits that the act of state doctrine is squarely engaged on the facts of
     these proceedings.

159. For the same reasons as those set out in respect of sovereign immunity, the application
     of the act of state doctrine in these proceedings is a matter for the Irish courts to decide
     as a matter of Irish law. In summary, it is wholly objectionable for claimants to use a
     foreign judgment as a "fig leaf' to enable an Irish Court indirectly to implead a foreign
     state's sovereign actions.

160. Under UK precedent, it is necessary to consider the character of the impugned acts and
     where they occurred. In this case (a) the relevant acts were carried out by the
     Government and the National Congress of the Republic; and (b) they were performed
     and took place within' the territory of the Republic, since the YPF shares were registered




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       there and the relevant decision-making, of the President and Congress, was also within
       Argentina. 39

161. The Irish courts do not have jurisdiction to inquire into the validity of the Republic's
     executive and legislative acts, and by extension do not have jurisdiction to consider the
     recognition and enforcement of the New York Judgment against the Republic.

162. Recalling the two rules set out in Deutsche Bank, recognition and enforcement of the
     New York Judgment would question the effect of the Republic's legislation in relation to
     acts which have taken place within the territory of the Republic, insofar as it undermines
     the General Expropriation Law and the YPF Expropriation Law.

163. Recognition and enforcement of the judgment would also question the effect of the
     Republic's President (executive power) in submitting a bill to Congress that once
     enacted authorised, for public policy purposes, the expropriation which took place.

164. In respect of the commercial activity exception, the Republic relies on the points made
     above at §138-144 above, under Ground II.

165. Again , the Republic will refer to expert evidence supporting its exposition of Argentine
     law at the hearing of these proceedings. 40


CONCLUSION


166. For all of the foregoing reasons, and those to be offered, the Republic submits that this
     Honourable Court should exercise its discretion to grant the Stay Application.

167. Without prejudice to the Stay Application, the Court should accede to the Republic's Set-
     Aside Application.




                                                                                           CLAIRE HOGAN
                                                                                        MICHAEL CUSH SC



                                                                               Word count: 15,000 words

                                                                                                 30 April 2025




39
   At §66 of Mr. Juan Ignacio Stampalija's affidavit of 18 March 2025, he confirms that no United States Court has
held that the Republic took any action outside the Republic in not making a tender offer.
40
   See footnote 38 for a non-exhaustive list of same.

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                                          Annex 1

                    Plaintiffs' U.S. Post-Judgment Enforcement Efforts


October 16, 2023      Plaintiffs serve First Post-Judgment Requests for Production of
                      Documents from Defendant the Argentine Republic (77 document
                      requests). In the document request, the Plaintiffs sought documents
                      relating to all assets held by the Argentine Republic worldwide.


November 3, 2023      Plaintiffs serve document subpoena on Bank of New York Mellon. The
                      document subpoena specifically sought documents regarding the
                      Argentine Republic's shares in YPF.


January 10, 2024      Interim stay of enforcement of the New York judgement expires.


February 7, 2024      Argentine Republic makes first tranche of document production.


February 16, 2024     Argentine Republic makes second tranche of document production .


February 27, 2024     Plaintiffs file letter regarding their intended motion to compel the
                      Argentine Republic to produce discovery regarding 17 of their
                      document requests; in particular, they argue that the Argentine
                      Republic should be compelled to produce documents regarding
                      diplomatic, consular, and military assets in all countries (excluding the
                      United States of America and the Argentine Republic) , as well as
                      information about the Argentine Republic's accounts at its central bank.


March 1, 2024         Argentine Republic makes third tranche of document production.


March 11 , 2024       Plaintiffs serve document subpoenas on American Express National
                      Bank, Banco Santander, S.A., Bank of America, N.A., Banco Bilbao
                      Vizcaya Argentaria (BBVA) , S.A., BNP Paribas, S.A., Deutsche Bank
                      AG, HSBC North America Holdings Inc., JPMorgan Chase Bank, N.A.,
                                                                                                    I
                      Wells Fargo Bank, N.A., and Wilmington Trust, N.A. These document
                      subpoenas were also seeking information as to any bank accounts held
                      by the Argentine Republic worldwide, including those held in the
                      Republic of Ireland.
                      Argentine Republic makes fourth tranche of document production.


March 13, 2024        Plaintiffs serve document subpoenas on Banco de Brasil, S.A.,
                      Barclays Bank, PLC, BlackRock International Holdings, Inc., BlackRock
                      Inc., Citibank, N.A., Commerzbank Aktiengesellschaft, Credit Agricole
                      CIB Corp., Industrial and Commercial Bank of Ch ina, ltau Ch ile, ltau

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                 Unibanco S.A. , Natixis, Cooperatieve Rabobank U.A. New York,
                 Societe Genera le S.A. , Standard Chartered Bank, and UBS AG. These
                 document subpoenas were also seeking jnformation as to any bank
                 accounts held by the Argentine Republic worldwide, including those
                 held in the Republic of Ireland.


March 15, 2024   Argentine Republic makes fifth tranche of document production.


March 18, 2024   Court conference to discuss Plaintiffs' February 27, 2024 letter. The
                 Court directed parties to meet and confer and submit a joint letter with
                 a plan of action , which the parties did.


March 22, 2024   Argentine Republic makes sixth tranche of document production.


March 25, 2024   Plaintiffs serve document subpoena on YPF. This document subpoena
                 sought information about the Argentine Republic's shares in YPF and
                 also about an alleged "alter ego" relationship, in furtherance of
                 allegation that YPF is an "alter ego" of the Argentine Republic and as
                 such, the Plaintiffs could attach assets of YPF in satisfaction of the
                 judgement.
                 Argentine Republic makes seventh tranche of document production.           •


April 1, 2024    Plaintiffs serve document subpoena on Banco de la Nacion Argentina
                 ("BNA"). This document subpoena sought information about the
                 Argentine Republic's account information with BNA also about an
                 alleged "alter ego" relationship.


April 12, 2024   Argentine Republic makes eighth tranche of document
                 production. Documents produced include a number of deeds of
                 the Argentine Republic's real estate worldwide, including for
                 diplomatic/consular real estate in the Republic of Ireland.


April 19, 2024   Plaintiffs serve document subpoenas on Banco Latinoamericano de
                 Comercio Exterior, S.A. and The Clearing House Payments Company
                 L.L.C. These document subpoenas were also seeking information as to
                 any bank accounts held by the Argentine Republic worldwide, including
                 those held in the Republic of Ireland.


April 22, 2025   Plaintiffs move for turnover of the Argentine Republic's shares of YPF.
                 This motion is still pending.


April 23, 2024   Plaintiffs serve document subpoenas on MUFG Bank, Ltd. and Bank of
                 China. These document subpoenas were also seeking information as
                                                                                      35
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                  to any bank accounts and assets held by the Argentine Republic
                  worldwide, including those held in the Republic of Ireland.


April 25, 2024    Argentine Republic makes additional tranche of document production.


May 2, 2024       Plaintiffs serve document subpoenas on Berk Communications, Ferox
                  Strategies LLC , Hydro Systems USA, Inc, Mercury Public Affairs LLC,
                  and Myriad International Marketing LLC . These document subpoenas
                  were also seeking information as to any bank accounts and assets held
                  by the Argentine Republic worldwide, including those held in the
                  Republic of Ireland.


May 7, 2024       Plaintiffs file letter-motion to compel seeking documents related to alter-
                  ego discovery and military, diplomatic, and consular assets in all
                  countries (excluding the United States of America and the Argentine
                  Republic).
                  Argentine Republic makes additional tranche of document production .


May 14, 2024      Plaintiffs serve document subpoenas on Space Exploration
                  Technologies Corp. and Starlink Services, LLC. These document
                  subpoenas were also seeking information as to any assets held by the
                  Argentine Republic worldwide.


May 15, 2024      Plaintiffs serve Second Post-Judgment Requests for Production of
                  Documents from Defendants the Argentine Republic (65 requests) .


May 15, 2024      Plaintiffs serve First Information Subpoena (written interrogatories
                  regarding the Argentine Republic's assets).


May 15, 2024      Plaintiffs serve document subpoena on Kuiper Systems LLC. This
                  document subpoena was also seeking information as to any assets held
                  by the Argentine Republic worldwide.

                                                                                                   '
May 20, 2024      Argentine Republic makes additional tranche of document production.


May 23, 2024      Pla intiffs serve document subpoenas on Calfrac Well Services Corp.,
                  DeGolyer and MacNaughton Corp, Excelerate Energy, Inc., Excelerate
                  Energy Limited Partnership, IAPG Houston, Inc, Progress Resources
                  USA Ltd , Clearing House Payments Company L. L.C (second
                  subpoena), and Myriad International Marketing LLC (second
                  subpoena). These document subpoenas were also seeking information
                  as to any assets held by the Argentine Republic worldwide.

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May 28, 2024     Pre-motion conference addressing Plaintiffs May 7 letter. The Court
                 granted discovery on military, diplomatic, and consular assets (outlined
                 above), with the time period narrowed to two years. The Court granted
                 alter ego discovery regarding YPF and the Argentine Republic's central
                 bank for a limited time period of two years, and ordered the parties to
                 meet and confer about narrowing the scope of the requests.


June 3, 2024     Argentine Republic makes additional tranche of document production.


June 5, 2024     Plaintiffs serve document subpoenas on BlackCoral Energy (USA),
                 LLC , Braskem America, Inc., Compagnie Du Ponant USA LLC, Eliis
                 Inc., and Nitron Group LLC. These document subpoenas were also
                 seeking information as to any assets held by the Argentine Republic
                 worldwide.


June 20, 2024    Plaintiffs serve document subpoenas on Man Energy Solutions USA,
                 Ocean Energy Inc., PGR Operating LLC , Safran Helicopter Engines
                 USA, Inc, Trafigura Trading LLC, WEG Electric Corp. USA, Gunvor
                 USA LLC, and Exxon Mobil Corp. These document subpoenas were
                 also seeking information as to any assets held by the Argentine
                 Republic worldwide.


June 21, 2024    Plaintiffs serve document subpoenas served on KTB-USA Import-
                 Export, LLC and GS Investigations LLC. These document subpoenas
                 were also seeking information as to any assets held by the Argentine
                 Republic worldwide.


July 8, 2024     Argentine Republic produced a list of the Argentine Republic's
                 bank accounts, including the bank accounts held by the Argentine
                 Republic's embassy in the Republic of Ireland. Account
                 statements related to those accounts were produced in rolling
                 productions in July and August of 2024.


August 1, 2024   Plaintiffs file letter seeking, inter alia, to compel (1) a response to
                 Plaintiffs' First Information Subpoena; (2) documents in response to       •
                 alter ego discovery requests regarding other entities about which the
                 Court had not previously ruled; (3) an electronically stored information
                 search for documents responsive to requests regarding YPF and the
                 Central Bank of the Argentine Republic ("BCRA" for its acronym in
                 Spanish) from particular email custodians.


August 7, 2024   Plaintiffs serve document subpoenas on Loomis Armored US, LLC and
                 Loomis International (US) LLC. These document subpoenas were also


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                     seeking information as to any assets held by the Argentine Republic
                     worldwide.


August 20, 2024      Plaintiffs serve document subpoena on British Airways PLC. This
                     document subpoena was also seeking information as to any assets held
                     by the Argentine Republic worldwide.


September 3, 2024   Court conference to discuss issues raised in Plaintiffs' August 1 letter.
                    The Court ordered a response to the Information Subpoena and further
                    briefing on the alter ego requests and email custodians . The parties
                    later fully briefed these issues, which are still pending .


September 9, 2024   Argentine Republic makes additional tranche of document production.


September 16, 2024 Plaintiffs serve document subpoena on Ocean Energy Inc. (second
                   subpoena) . This document subpoena was also seeking information as
                   to any assets held by the Argentine Republic worldwide.
                    Argentine Republic makes additional tranche of document production.


October 4, 2024     Argentine Republic makes additional tranche of document production.


October 16, 2024    Plaintiffs serve document subpoenas on Duquesne Family Office,
                    Stone Ridge Holdings Group LP, and Stone Ridge Asset Management
                    LLC . These document subpoenas were also seeking information as to
                    any assets held by the Argentine Republic worldwide.


November 8, 2024    Argentine Republic makes additional tranche of document production .


December 16, 2024 Plaintiffs serve document subpoena on Arthur D. Little LLC. This
                  document subpoena was also seeking information as to any assets held
                  by the Argentine Republic worldwide.


December 18, 2024 Argentine Republic makes additional tranche of document production.


December 19, 2024 Plaintiffs serve document subpoenas on Pumpco, Inc. and
                  Montanagonia Investments LLC. These document subpoenas were
                  also seeking information as to any assets held by the Argentine
                  Republic worldwide.




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December 20, 2024 Plaintiffs serve document subpoena on Techint Engineering Technical
                  and Commercial Services LLC. This document subpoena was also
                  seeking information as to any assets held by the Argentine Republic
                  worldwide.


December 30, 2024 Plaintiffs serve document subpoena on Samsung Heavy Industries Co.,
                  Ltd. This document subpoena was also seeking information as to any
                  assets held by the Argentine Republic worldwide.


January 2, 2025     Plaintiffs serve document subpoenas on Shell USA, Inc. and Energy
                    Transfer LP. These document subpoenas were also seeking
                    information as to any assets held by the Argentine Republic worldwide.


January 2, 2025     Plaintiffs file letter seeking to compel production of (1) SWIFT
                    messages for the Argentine Republic's accounts outside of Argentina
                    and the United States; (2) information regarding the Argentine
                    Republic's accounts in Argentina and the United States; (3) documents
                    produced in other post-judgment litigation; and (4) documents sufficient
                    to identify the location and purpose of BCRA's gold reserves


January 7, 2025     Plaintiffs serve document subpoenas on Delta Air Lines, Inc. and
                    Avianca, Inc. These document subpoenas were also seeking
                    information as to any assets held by the Argentine Republic worldwide.


January 14, 2025    The Court grants Plaintiffs' January 2 motion.


January 22, 2025,   Argentine Republic makes additional tranche of document production.


January 24, 2025    Plaintiffs serve document subpoenas on Cube Group, Inc. and
                    Rainmaker Technology Corporation . These document subpoenas were
                    also seeking information as to any assets held by the Argentine
                    Republic worldwide.


January 29, 2025    Plaintiffs serve document subpoena on LeoLabs, Inc. This document
                    subpoena was also seeking information as to any assets held by the
                    Argentine Republic worldwide.


January 30, 2025    Plaintiffs serve document subpoenas on Goldman Sachs & Co. LLC,
                    Rainmaker Technology Corporation (amended subpoena), Moore
                    Capital Management, LP, and Mastercard International Incorporated.
                    These document subpoenas were also seeking information as to any
                    assets held by the Argentine Republic worldwide.


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January 31 , 2025   Plaintiffs serve document subpoenas on HP Inc. and S. C. Johnson &
                    Son, Inc. These document subpoenas were also seeking information as
                    to any assets held by the Argentine Republic vyorldwide.


February 5, 2025    Plaintiffs serve document subpoenas on Converium Capital (USA) Inc.
                    and Mastercard Incorporated. These document subpoenas were also
                    seeking information as to any assets held by the Argentine Republic
                    worldwide.


February 7, 2025    Argentine Republic makes additional tranche of document production.


February 18, 2025   Plaintiffs serve document subpoena on Oracle Advisory Group Inc. Th is
                    document subpoena was also seeking information as to any assets held
                    by the Argentine Republic worldwide.
                    Argentine Republic makes additional tranche of document production.


February 21, 2025   Argentine Republic makes additional tranche of document production.


February 28, 2025   Argentine Republic makes additional tranche of document production .


March 5, 2025       Plaintiffs serve document subpoenas on The Bank of New York Mellon
                    and Morgan Stanley. These document subpoenas were also seeking
                    information as to any assets held by the Argentine Republic worldwide.


March 6, 2025       Plaintiffs serve document subpoena on The Depository Trust Company.
                    This document subpoena was also seeking information as to any assets
                    held by the Argentine Republic worldwide.


March 14, 2025      Argentine Republic makes additional tranche of document production.


March 20, 2025      Plaintiffs serve document subpoena on Citigroup Inc. This document
                    subpoena was also seeking information as to any assets held by the
                    Argentine Republic worldwide.


April 6, 2025       Plaintiffs serve document subpoena on JPMorgan Chase Bank. This
                    document subpoena was also seeking information as to any assets held
                    by the Argentine Republic worldwide.


April 8, 2025       Argentine Republic makes additional tranche of document production.


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April 10, 2025   Plaintiffs serve document subpoena on ·Banco Bilbao Vizcaya
                 Argentaria, S.A. This document subpoena was also seeking information
                 as to any assets held by the Argentine Republic worldwide.


April 21, 2025   Argentine Republic makes additional tranche of document production.




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                                              THE HIGH COURT

                                                              H.S.2024. 0000158


                                  BElWEEN:

                                  PETERSEN ENERGIA INVERSORA S.A.U.,
                                  PETERSEN ENERGIA S.A.U ., ETON PARK
                                    CAPITAL MANAGEMENT, LP., ETON
                                   PARK MASTER FUND, LTD. AND ETON
                                            PARK FUND LP.

                                                                       Plaintiffs


                                                    - and -


                                          THE ARGENTINE REPUBLIC

                                                                     Defendant




                                     OUTLINE LEGAL SUBMISSIONS ON
                                   BEHALF OF THE ARGENTINE REPUBLIC




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